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                          No. 2024-1189
     _______________________________________________________

            UNITED STATES COURT OF APPEALS
                 FOR THE FEDERAL CIRCUIT
     _______________________________________________________

                 VALEO NORTH AMERICA, INC.,
                      Plaintiffs-Appellant,
                                 v.
 UNITED STATES, ALERIS ROLLED PRODUCTS, INC., ARCONIC
CO., COMMONWEALTH ROLLED PRODUCTS INC., CONSTELLIUM
 ROLLED PRODUCTS RAVENSWOOD, LLC, JUPITER ALUMINUM
    CO., JW ALUMINUM COMPANY, NOVELIS CORPORATION,
ALUMINUM ASSOCIATION COMMON ALLOY ALUMINUM SHEET
            TRADE ENFORCEMENT WORKING GROUP,
                       Defendants-Appellees,
      _______________________________________________________

   On Appeal from the United States Court of International Trade,
        No. 1:21-cv-001581, Chief Judge Mark A. Barnett.
    _______________________________________________________
       OPENING BRIEF OF PLAINTIFF-APPELLANT
                VALEO NORTH AMERICA, INC.

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                    CERTIFICATE OF INTEREST

      Counsel for Valeo North America, Inc. certify under Federal Circuit
Rule 47.4 that the following information is accurate and complete to the
best of their knowledge:

1.   Represented Entities. Provide the full names of all entities
represented by undersigned counsel in this case.

Valeo North America, Inc.

2.    Real Parties in Interest. Provide the full names of all real parties
in interest for the entities. Do not list the real parties if they are the
same as the entities.

None.

3.     Parent Corporations and Stockholders. Provide the full names
of all parent corporations for the entities and all publicly held companies
that own 10% or more stock in the entities.

Valeo Bayen
Valeo International Holding, BV
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4.   Legal Representatives. List all law firms, partners, and
associates that (a) appeared for the entities in the originating court or
agency or (b) are expected to appear in this court for the entities. Do not
include those who have already entered an appearance in this court.

John Anwesen

5.    Related Cases. Other than the originating case(s) for this case, are
there related or prior cases that meet the criteria under Fed. Cir. R.
47.5(a)?

No.

6.    Organizational Victims and Bankruptcy Cases. Provide any
information required under Fed. R. App. P. 26.1(b) (organizational
victims in criminal cases) and 26.1(c) (bankruptcy case debtors and
trustees).

Not applicable.
                                            /s/ Weronika Bukowski
Dated: January 26, 2024                       Weronika Bukowski




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                             INTRODUCTION

     On behalf of Plaintiff-Appellant Valeo North America, Inc.

(“Appellant” or “Valeo”), we respectfully submit this opening brief in

accordance with Federal Rule of Appellate Procedure 28, Federal Circuit

Rule 28.

                  STATEMENT OF RELATED CASES

     Pursuant to Federal Circuit Rule 47.5, counsel for Plaintiff-

Appellant is not aware of any other appeal in or from this action

previously before this or any other appellate court. Appellant’s counsel is

unaware of any case pending in this or any other court that may directly

affect or be affected by this Court’s decision in this appeal.

                    JURISDICTIONAL STATEMENT

     Pursuant to 28 U.S.C. § 1295(a)(5), this Court possesses subject

matter jurisdiction over the appeal from the final judgment and

accompanying opinion and order of the Court of International Trade

(“CIT”) entered on November 8, 2023. Valeo North America, Inc. v United

States, No. 21-581, Slip Op. 23-157 (Ct. Int’l Trade Nov. 8, 2023) (“Valeo

II”). Appx00018–00038. 1 The CIT issued Valeo II after a remand



     1
         “Appx_” refers to pages of the Joint Appendix.


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proceeding by Commerce and an earlier decision. Valeo North America,

Inc. v. United States, 610 Fed. Supp. 3d 1322 (Ct. Int’l Trade 2022)

(“Valeo I”). Appx00003–00017.

     On November 17, 2023, within sixty days of the CIT’s final

judgment, Appx0001–00002, Valeo timely filed its notice of appeal

pursuant to Federal Circuit Rule 4. Appx00163–00164.

                   STATEMENT OF THE ISSUES

     1. Whether the CIT erred in sustaining the U.S. Department of

Commerce’s (“Commerce” or “the Department”) determination that

Appellant’s heat-treated T-series aluminum sheet is within the scope of

the antidumping and countervailing duty orders on common alloy

aluminum sheet from the People’s Republic of China, where the

Department’s    determination    was    not   in   accordance     with   law,

unsupported by substantial evidence, and was otherwise unreasonable

and unlawful.

                    STATEMENT OF THE CASE

     In 2019, Commerce published antidumping and countervailing

duty orders on aluminum common alloy sheet from China. See Common

Alloy Aluminum Sheet From           the People's Republic of China:

Antidumping Duty Order, 84 Fed. Reg. 2,813 (Feb. 8, 2019) (“AD Order”);

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Common Alloy Aluminum Sheet From the People's Republic of China:

Countervailing Duty Order 84 Fed. Reg. 2,157 (Feb. 6, 2019) (“CVD

Order”) (collectively, the “Orders”). Each antidumping duty and

countervailing duty order contains a narrative description that defines

the merchandise covered by the proceeding. This narrative description

outlines the “scope” of the order, and merchandise falling within the

narrative description is “in-scope” merchandise.

     The scope language of the Orders is as follows:

           aluminum common alloy sheet (common alloy sheet),
     which is a flat-rolled aluminum product having a thickness of
     6.3 mm or less, but greater than 0.2 mm, in coils or cut-to-
     length, regardless of width. Common alloy sheet within the
     scope of this order includes both not clad aluminum sheet, as
     well as multi-alloy, clad aluminum sheet. With respect to not
     clad aluminum sheet, common alloy sheet is manufactured
     from a 1XXX-, 3XXX-, or 5XXX-series alloy as designated by
     the Aluminum Association. With respect to multi-alloy, clad
     aluminum sheet, common alloy sheet is produced from a
     3XXX-series core, to which cladding layers are applied to
     either one or both sides of the core.

AD Order, 84 Fed. Reg. at 2,815; CVD Order, 84 Fed. Reg. at 2,158.

     Commerce may issue a scope ruling to clarify what imported

merchandise is covered by the scope of an order. Typically, an interested

party, such as a U.S. importer, initiates a scope inquiry by submitting a

scope ruling request to Commerce.


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     Valeo submitted a scope ruling request to Commerce on May 1,

2020 to confirm its T-series aluminum sheet is outside the scope of the

Orders. Appx00177. Valeo thereafter submitted three additional

successive scope ruling requests providing additional information

supporting that its heat-treated T-series aluminum sheet is not covered

by the scope of the Orders. Appx00459, Appx00645, Appx00792. On

October 15, 2021, Commerce issued a scope ruling finding that Valeo’s T-

series aluminum sheet was covered by the scope of the Orders (the “Final

Scope Ruling”). Appx01246.

     On November 12, 2021, Valeo appealed the Final Scope Ruling. See

Appx00170. The CIT found that the Final Scope Ruling was unsupported

by substantial evidence and remanded the ruling to Commerce. Valeo I

at 1343. Appx00013.

     On June 20, 2023, Commerce filed a Scope Redetermination with

the CIT. Appx00039. On November 8, 2023, the CIT sustained the Final

Scope Ruling, as modified by the Department’s Scope Redetermination.

Valeo II at 21. Appx00038. This appeal follows.




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                         STATEMENT OF FACTS

I.   The Heat -Treated T-Series Sheet

     Valeo imports heat-treated T-series aluminum sheet from China to

manufacture sophisticated components for automotive heat exchangers,

ventilation, and air conditioning systems. Appx01249. Heat-treated T-

series sheet is a proprietary aluminum product. The T-series sheet was

developed by Valeo and its suppliers to be uniquely light weight, high

strength, and highly corrosion resistant. Appx00181.

     In order to achieve these unique characteristics, the T-series sheet

is composed of a proprietary and highly-engineered aluminum

composition that adds copper, manganese, titanium, and nickel. See id.

     The T-series sheet was developed to meet the automotive industry’s

rapid move towards vehicle light-weighting; i.e., building cars and trucks

that are less heavy as a way to achieve better fuel efficiency and

handling. Id.

     The T-series sheet is classified under HTSUS subheading

7606.12.3091 (aluminum alloys, not clad, heat-treatable industrial

alloys). Appx01249. Its aluminum core is a proprietary alloy that is

unregistered with the Aluminum Association. Appx01250.




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II.   Alloy Registration with the Aluminum Association

      The Aluminum Association publishes a numerical designation

system for wrought aluminum and wrought aluminum alloys. See

Appx00864–00901 (the “Teal Sheets”). This publication, referred to as the

Aluminum Association specifications or the “Teal Sheets,” is the defining

source for designations and chemical composition limits for wrought

aluminum and wrought aluminum alloys and is relied upon in a number

of standards and specifications worldwide.

      In the Teal Sheets, aluminum grades are designated by four

numbers and are grouped into “series” that have the same major alloying

additions and properties. The first digit in the grade number indicates

the general family, which share a major alloying component. When

referring collectively to that specific family, the last three digits are

shown as the letter X. For example, 5XXX indicates the 5000 series of

aluminum alloys. Appx00897. The last three digits contemplate a unique,

registered alloy. The series groupings in the Teal Sheets are as follows:




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Appx00897.

     Per the Teal Sheets, “[a] numerical designation” that is assigned

“should only be used to indicate an aluminum or an aluminum alloy

having chemical composition limits identical to those registered.” Id.

(emphasis added). “Designations that could be mistaken for a designation

described” in the Teal Sheets “shall not be used for unregistered wrought

aluminum or wrought aluminum alloys.” Appx00899.

     Because of its proprietary and highly-engineered nature, the

composition of the T-series sheet differs from all aluminum and

aluminum alloys registered with and designated by the Aluminum

Association. See Appx01250. Put differently, the T-series sheet is

unregistered and not designated by the Aluminum Association.

Therefore, while the aluminum core of the T-series sheet has a major

alloying element of manganese, it is not a 3XXX-series alloy.


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III. The Scope Proceedings

     On May 1, 2020, Valeo submitted its first scope ruling request

explaining that the T-series aluminum sheet is outside of the scope of the

Orders. Appx00177. On June 5, 2020, August 7, 2020, and March 24,

2021, Valeo provided supplemental information and revised ruling

requests in response to inquiries from Commerce. Appx00459,

Appx00645, Appx00792.

     Valeo argued in its scope ruling requests that its T-series sheet is

outside of the scope of the Orders for a variety of reasons. Principally,

Valeo argued that the plain language of the Orders provides that the

scope only covers specific types of aluminum sheet that is “manufactured

from a 1XXX-. 3XXX-, or 5XXX-series alloy as designated by the

Aluminum Association.” See Appx01251–01252. Consequently, because

the T-series sheet is not designated as a registered alloy under the Teal

Sheets, it is outside the scope of the Orders. See id.

     On October 15, 2021, Commerce determined that Valeo’s T-series

sheet was covered by the scope of the Orders. Appx01246. Despite finding

that the T-series sheet is unregistered and not designated under the Teal

Sheets, Commerce concluded the T-series sheet is within the scope of the



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Orders because it ‘‘is a multialloy, clad aluminum sheet produced from

an aluminum core that has a primary alloying element of manganese”

which   Commerce     considered a       “3XXX-series    core.’’   Appx01256,

Appx01259. Commerce reasoned that because the primary alloying

element of the T-series sheet core is manganese, it is considered a 3XXX-

series alloy. Appx01259. Again, the T-series sheet is not designated in

the 3XXX-series nor any other series published by in the Teal Sheets. See

id. Its chemistry is unique.

IV.   The CIT Remands the Final Scope Ruling in Valeo I

      Valeo appealed the Final Scope Ruling to the CIT. Appx00163.

      On December 21, 2022, the CIT remanded the Final Scope Ruling

to Commerce, holding that the Department’s “scope interpretation

exceeded the limits of a {19 C.F.R. § 351.225}(k)(1) analysis and is

unsupported by substantial evidence.” Valeo I at 1335. Appx00008.

      In Valeo I, the CIT found that: “{t}he phrase ‘3XXX-series’ is not

defined in the scope except in reference to the phrase ‘as designated by

the Aluminum Association,’” and that “the latter phrase aids in the

interpretation of the former.” Id. Because neither phrase was defined in

the scope, the CIT found it was ambiguous. The CIT explained that:



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      The scope is ambiguous, however, as to whether Commerce
      intended the scope to cover any alloy that contains a major
      alloying element corresponding to the Aluminum
      Association’s alloy groups (including unregistered alloys), or
      whether Commerce intended the scope to be limited to
      registered alloys within the enumerated series with the four-
      digit designations assigned by the Aluminum Association.

Id.

      After finding that the language of the scope is ambiguous, the CIT

stated that the Department’s “reliance on the Teal Sheets to interpret

‘3XXX-series’ to include unregistered alloys fails to account for the Teal

Sheets as a whole.” Id. As the CIT explained, “{t}he Teal Sheets contain

‘designations and chemical composition limits for wrought aluminum and

wrought aluminum alloys registered with The Aluminum Association.’”

Id. “Thus, from the outset, the Teal Sheets use the term ‘designation’ to

refer to registered alloys.” Id. The CIT further stated that “when read as

a whole, the Aluminum Association’s use of ‘3’ in ‘3XXX’ in the list of alloy

groups indicates a major alloying element of manganese while

contemplating the addition of three more digits to complete the four-digit

designation” and that “Commerce has not identified anything in the Teal

Sheets that indicates the Aluminum Association applies this framework




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to unregistered alloys.” Id. at 1335–36. Appx00008–00009 (emphasis

added).

     The CIT thereby concluded that “Commerce’s interpretation of the

phrase ‘3XXX-series’ in conjunction with ‘as designated by the Aluminum

Association’ to include unregistered aluminum alloys with a major

alloying element of manganese . . . is unsupported by substantial record

evidence.” Id. at 1337–38. Appx00009.

V.   The Department’s Scope Redetermination

     On June 20, 2023, Commerce filed a scope redetermination with the

CIT amending the Final Scope Ruling. Appx00039–00162 (the “Scope

Redetermination”). On remand Commerce recognized that the Teal

Sheets offered guidance on “industry usage of the term ‘3XXX-series’” and

found that the Teal Sheets “weigh{} in favor of finding that the scope of

the Orders is limited to registered alloys . . . with four-digit designations

assigned by the Aluminum Association.” Appx00082, Appx00085. In

compliance with Valeo I, Commerce noted that the “Teal Sheets, as a

whole, use{} the word ‘designation’ to refer to alloys with a four-digit

designation from the Aluminum Association.” Appx00080.




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     However, Commerce found that the Teal Sheets were not

dispositive because “{t}he term ‘3XXX-series’ is an industry-specific term

defined only by the industry publication Teal Sheets” but that “the term

‘designate’ is a general term that may be used in the common

vernacular.” Id. Commerce referred to the Merriam Webster dictionary

that defines “‘designate’ among other things as ‘to point out the location

of.’” Id. Commerce thereby determined that “the dictionary definition of

the term ‘designate’ does not require the term to be used in reference to

a four-digit alloy designation from the Aluminum Association.” Id.

     In sum, in light of this definition of “designate” that does not apply

specifically to the aluminum industry, Commerce found the scope was

ambiguous as to “whether Commerce intended the scope to cover any

alloy that contains a major alloying element corresponding to the

Aluminum Association’s alloy groups (including unregistered alloys), or

whether Commerce intended the scope to be limited to registered alloys

within the enumerated series with four-digit designations assigned by

the Aluminum Association.” Appx000081.

     Commerce then examined (k)(1) sources pursuant to 19 C.F.R.

§ 351.225 to address this ambiguity. Appx00081–00086. The Scope



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Redetermination weighed two so-called (k)(1) sources: the Teal Sheets

and a separate rate determination of a third party’s unrelated product

from the underlying antidumping investigation. See Appx00081–00082,

Appx00086.

     With respect to the Teal Sheets, Commerce found they weigh “in

favor of finding that the scope of the Orders is limited to registered alloys

within the enumerated series with four-digit designations assigned by

the Aluminum Association.” Appx00082.

     The second “(k)(1)” source, the separate rate determination, was a

determination in response to Jiangsu Alcha Aluminum Co., Ltd. and

Alcha International Holdings Limited’s (collectively “Alcha”) separate

rate application (the “Separate Rate Determination”). Appx00082–00083.

Commerce placed excerpts from these separate rate applications on the

record during the remand proceedings. Appx01446. Alcha is a third part

unrelated to Valeo and does not export T-series aluminum sheet.

     The Scope Redetermination discusses Alcha’s separate rate

application and the Separate Rate Determination, though it discusses

certain of Alcha’s confidential information. See Appx00083–00084.

Commerce stated that Alcha submitted a separate rate application, that



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Alcha’s   confidential    application    identified     an   alloy    as    subject

merchandise, and that this alloy did not correspond with any registered

alloys in the Teals Sheets. Id. Commerce thereafter reasoned that

because Commerce determined that Alcha was entitled to a separate

rate, “Commerce’s separate rate determination indicated that Commerce

understood the scope {of the Orders} to cover any alloy groups (including

unregistered alloys).” Appx00084.

      Weighing the Teal Sheets and the Separate Rate Determination,

Commerce concluded that it would give greater weight to the Separate

Rate Determination. Appx00086. However, Commerce found that the two

k(1) factors were not dispositive in resolving the ambiguity in the scope

of the Orders and next assessed various (k)(2) factors. Appx00093.

Applying the k(2) factors, Commerce again determined that the T-series

aluminum sheet is within the scope of the orders. Appx00162.

VI.   The CIT sustained the Scope Redetermination in Valeo II

      The CIT sustained the Scope Redetermination in Valeo II and found

that “Commerce offered a reasoned explanation for its conclusion that the

Teal Sheets was not dispositive.” Valeo II at 12. Appx00029. The CIT also




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found the Department’s use of Alcha’s separate rate application and the

Separate Rate Determination was proper. Id. at 14. Appx00031–00034.

     This appeal follows.




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                     SUMMARY OF ARGUMENT

     Commerce’s remand determination would overturn more than 10

years of black-letter law related to scope inquiries. At issue in this matter

is the appropriate framework when determining if a particular product

is within the scope of an antidumping or countervailing order. Scope

determinations for particular products generally proceed in the following

order: Initially, Commerce examines the relevant scope language. If the

language is ambiguous, Commerce next interprets the scope with the aid

of the sources set forth in the Department’s regulations, known as the

“k(1)” factors. If those materials are dispositive, Commerce issues a final

scope ruling, but if they are not dispositive, Commerce considers the

factors stated in subsection (k)(2) of the regulation. 19 C.F.R.

§ 351.225(k).

     In resolving scope questions, Commerce’s first obligation is to

examine the scope language for ambiguity, while recognizing and

interpreting terms consistent with their trade usage. As explained by

this Court, Commerce must first examine the plain language of an

antidumping or countervailing duty order, determine if it is ambiguous,

and define relevant terms based upon customary trade usage. See



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Arcelormittal Stainless Belg. N.V. v. U.S., 694 F.3d 82, 88 (Fed. Cir.

2012) (“antidumping orders should not be interpreted in a vacuum

devoid of any consideration of the way the language of the order is used

in the relevant industry”). This is often referred to as a k(0) analysis.

     While Commerce casts this case as based on the factual

circumstances of the particular product, it fails to apply the above well-

established legal framework. The industry standards in this case are not

ambiguous as the scope language itself specifies the governing standards.

Because Commerce reaches beyond the express scope language to rely on

a non-public, unpublished source unrepresentative of customary trade

usage, Commerce’s Scope Redetermination is unlawful and unsupported

by substantial evidence.

                               ARGUMENT

I.   Standard of Review

     This Court will “review a decision of the Court of International

Trade evaluating an antidumping determination by Commerce by

reapplying the statutory standard of review that the Court of

International Trade applied in reviewing the administrative record.” Peer

Bearing Co.-Changshan v. United States, 766 F.3d 1396, 1399 (Fed.

Cir. 2014). “Thus, without affording any deference to the Court of

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International Trade, this court reassesses the administrative record for

‘substantial evidence’ and for consistency ‘with law.’” Am. Silicon Techs.

v. United States, 334 F.3d 1033, 1036 (Fed. Cir. 2003); 19 U.S.C.

§ 1516a(b)(1)(B)(i).

     With respect to scope rulings in particular, the Court will “uphold

a Commerce scope ruling that is supported ‘by substantial evidence on

the record’ and otherwise ‘in accordance with law.’” Meridian Prods., LLC

v. United States, 851 F.3d 1375, 1381 (Fed. Cir. 2017) (citing 19 U.S.C.

§ 1516a(b)(1)(B)(i)). In evaluating such a ruling, this Court has

emphasized that “Commerce may not . . . interpret the scope of an order

contrary to the order’s terms or in such a way so as to change the scope

of the order.” Glob. Commodity Grp. LLC v. United States, 709 F.3d 1134,

1138 (Fed. Cir. 2013). “Commerce’s inquiry begins with the Orders’ scope

to determine whether it contains an ambiguity and, thus, is susceptible

to interpretation . . . The question of whether the unambiguous terms of

a scope control the inquiry, or whether some ambiguity exists, is a

question of law that we review de novo.” Whirlpool Corp. v. United States,

890 F.3d 1302, 1308 (Fed. Cir. 2018). “De novo” in this context means

review without deference to Commerce’s determination. Accord Litton



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Sys. v. Honeywell, Inc., 87 F.3d 1559, 1566 n.1 (Fed. Cir. 1996), rev’d on

other grounds, 520 U.S. 1111 (1997) (“By use of the term de novo, this

court means that it does not defer to the ‘lower court ruling or agency

decision in question.’”) (quoting Yepes-Prado v. INS, 10 F.3d 1363, 1367

n.5 (9th Cir. 1993)). The separate “question of whether a product meets

the unambiguous scope terms presents a question of fact reviewed for

substantial evidence.” Meridian Prods., 851 F.3d at 1382.

      Accordingly, this Court affords no deference to the CIT or

Commerce when considering whether the scope language of an

antidumping or countervailing duty order is unambiguous.

II.   Legal Framework for Scope Proceedings

      Congress granted Commerce the authority to issue scope rulings to

clarify “whether a particular type of merchandise is within the class or

kind of merchandise described in an existing” antidumping or

countervailing duty order. 19 U.S.C. § 1516a(a)(2)(B)(vi).

      In resolving scope questions, Commerce must first examine the

plain language the scope of an antidumping or countervailing duty order,

determine if it is ambiguous, and define relevant terms based upon

customary trade usage. Arcelormittal Stainless Belg. N.V. v. U.S., 694



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F.3d 82, 88–89 (Fed. Cir. 2012). Scope language must not be interpreted

devoid of any consideration of the way the language of the order is used

in the relevant industry. As this Court has observed, “{b}ecause the

primary purpose of an antidumping order is to place foreign exporters on

notice of what merchandise is subject to duties, the terms of an order

should be consistent, to the extent possible, with trade usage.” Id. at 88.

Indeed, the scope language is the “cornerstone” of Commerce’s analysis

and “a predicate for the interpretative process.” Duferco Steel, Inc. v.

United States, 296 F.3d 1087, 1097 (Fed. Cir. 2002). If the language of

the scope is unambiguous, it governs.

     If the language of the scope is ambiguous, then the other sources

listed in 19 C.F.R. § 351.225(k)2 may be consulted. See Mid Continent

Nail Corp. v. United States, 725 F.3d 1295, 1302 (Fed. Cir. 2013);

ArcelorMittal, 694 F.3d at 87. First, 19 C.F.R. § 351.225(k) directs

Commerce to consider the “k(1) factors,” which include “[t]he descriptions

of the merchandise contained in the petition, the initial investigation,


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       19 C.F.R. § 351.225(k) was amended in 2021, 86 Fed. Reg. 52,300
(Sept. 20, 2021), and 2023, 88 Fed. Reg. 67,069 (Sept. 29, 2023). Because
Valeo’s scope ruling request was submitted prior to the effective date of
the amended versions of the regulation, the original version of 19 C.F.R.
§ 351.225(k) applies to this action.


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and   the     determinations    of   [Commerce]       (including    prior   scope

determinations) and the [International Trade] Commission.” 19 C.F.R. §

351.225(k)(1). If the k(1) factors listed above are not dispositive,

Commerce may consider additional “k(2)” factors. Id. § 351.225(k)(2).

III. Commerce Failed to Follow the Legal Framework for Scope
     Rulings as Set Out in its Regulations

      The underlying Scope Redetermination was unsupported by

substantial evidence and contrary to law because Commerce failed to

identify any appropriate (k)(1) factors and therefore unlawfully

assessed (k)(2) factors. The Department’s regulations require scope

determinations to proceed in the following order:

      First, Commerce examines the relevant scope language guided by

context and industry custom. If the scope language is unambiguous, the

inquiry ends here. See ArcelorMittal, 694 F.3d at 89–90.

      Second, if the language is ambiguous, Commerce interprets the

scope with the aid of the (k)(1) factors. See 19 C.F.R. § 351.225(k)(1). If

those materials are dispositive, Commerce issues a final scope ruling.

      Third, if the (k)(1) factors are not dispositive, Commerce considers

the factors set out in subsection (k)(2) of the regulation. See id.

§ 351.225(k).


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     Commerce veered away from this framework in the Scope

Redetermination. As a threshold matter, Commerce found that the

scope language was ambiguous. Appx00143.

     Commerce next turned to a (k)(1) analysis. Appx00081. Pursuant

to 19 C.F.R. § 351.225(k)(1), Commerce may consider the following

materials in a (k)(1) analysis: “{t}he descriptions of the merchandise

contained in the petition, the initial investigation, and the

determinations of {Commerce} (including prior scope determinations)

and the {International Trade} Commission.” Neither of the so-called

(k)(1) sources Commerce assesses in the Scope Redetermination (i.e.,

the Teal Sheets and the Separate Rate Determination) were proper

under 19 C.F.R. § 351.225(k)(1).

     Commerce misuses the Teal Sheets as a quasi-definitional and

(k)(1) source. See Appx00080–00082. This is inconsistent with

Commerce’s regulations on scope rulings and therefore unsupported by

substantial evidence. See 19 C.F.R. § 351.225(k). The Teal Sheets provide

the common meaning of the phrase “as designated by the Aluminum

Association” and reflect the language in the Orders themselves. In the

Scope Redetermination, however, Commerce appears to attempt to use



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the Teal Sheets both as a definitional source and a (k)(1) source,

muddling the framework as set out by the regulations.

       The Separate Rate Determination, as discussed in greater detail

below in Section V, is also not an appropriate (k)(1) factor under

Commerce’s regulations. Appx00082–00084. Commerce’s use of the

Separate Rate Determination is therefore contrary to law.

       In sum, Commerce failed to properly assess or identify any (k)(1)

factors before moving to a (k)(2) analysis. The Scope Redetermination is

therefore unsupported by substantial evidence and contrary to law.

IV.    The Scope Language of the Orders Unambiguously Excludes
       Valeo’s T-Series Aluminum Sheet

      A.   The Language of the Orders is Unambiguous

       The language of the scope is the “cornerstone” of any scope

determination. See Walgreen Co. v. U.S., 620 F.3d 1350, 1357 (Fed. Cir.

2010); see also, e.g., Shenyang Yuanda Aluminum Indus. v. U.S., 776 F.3d

1351, 1357 (Fed. Cir. 2015). Commerce cannot “interpret{} an order in a

manner contrary to the order’s terms.” Allegheny Bradford Corp. v. U.S.,

342 F. Supp. 2d 1172, 1182 (Ct. Int’l Trade 2004) (citing Duferco Steel,

296 F.3d at 1094–95).




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      In Valeo I, the CIT held that the scope language of the Orders was

ambiguous. Specifically, the CIT found that:

            The scope is ambiguous, however, as to whether
      Commerce intended the scope to cover any alloy that contains
      a major alloying element corresponding to the Aluminum
      Association’s alloy groups (including unregistered alloys), or
      whether Commerce intended the scope to be limited to
      registered alloys within the enumerated series with the four-
      digit designations assigned by the Aluminum Association.

Valeo I at 1335. Appx00008.

      However, the CIT’s analysis of the Teal Sheets resolves the

ambiguity in the language that it identified. See id., at 1335–36.

Appx00008–00009. As explained by the CIT, “from the outset, the Teal

Sheets use the Term ‘designation’ to refer to registered alloys.” Id., at

1335. Appx00008. “{W}hen read as a whole, the Aluminum Association’s

use of ‘‘3’’ in ‘‘3XXX’’ in the list of alloy groups indicates a major alloying

element of manganese while contemplating the addition of three more

digits to complete the four-digit designation.” Id.

      The Teal Sheets, as a definitional source, may be used to interpret

the scope language of an antidumping or countervailing duty order. NEC

Corp. v. Dep’t of Commerce, 74 F. Supp. 2d 1302, 1307 (Ct. Int’l Trade

1999) (“In determining the common meaning of a term, courts may and



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do consult dictionaries, scientific authorities, and other reliable sources

of information, including testimony of record.”) (quoting Holford USA

Ltd. v. U.S., 912 F. Supp. 555, 561 (Ct. Int’l Trade 1995)). Thus, in

applying the CIT’s analysis of the Teal Sheets to the terms of the scope,

its language becomes clear.

     Read in conjunction with the Teal Sheets, the scope language itself

defines what is meant by “as designated.” “As designated” means “as

designated by the Aluminum Association.” There is no other industry-

specific definitional source that Commerce identified that calls this

reading into question. See Valeo I at 1335 n.20. Appx00008, Appx00015.

     Rather than focusing on the scope language itself, Commerce

unlawfully ignores the conjunctive “by” in the scope language and

impermissibly broadens the use of the word “designated.” In contrast, the

CIT in Valeo I rightfully found “as designated by the Aluminum

Association” to be a single phrase for interpretation. See Valeo I at 1335

(“The phrase ‘3XXX-series’ is not defined in the scope except in reference

to the phrase ‘as designated by the Aluminum Association,’” and that “the

latter phrase aids in the interpretation of the former”). Appx00008.




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     To determine the plain meaning of “as designated by the Aluminum

Association,” Commerce must refer to aluminum designations in the Teal

Sheets and must look at the language of the scope as a whole. Upon

proper review of the language of the Orders, the language of the scope is

unambiguous.

    B.   Commerce Failed to Interpret the Scope Language of
         the Orders Consistently with Trade Usage and Industry
         Standards as Required by Law

     The Department’s interpretation of the scope language is

inconsistent with trade usage and industry standards. As this Court has

stated, “antidumping orders should not be interpreted in a vacuum

devoid of any consideration of the way the language of the order is used

in the relevant industry.” Arcelormittal, 694 F.3d at 88. “Because the

primary purpose of an antidumping order is to place foreign exporters on

notice of what merchandise is subject to duties, the terms of an order

should be consistent, to the extent possible, with trade usage.” Id.; see

also Fedmet Res. Corp. v. United States, 755 F.3d 912, 920–21 (Fed. Cir.

2014); OMG, Inc. v. United States, 321 F. Supp. 3d 1262, 1269 (Ct. Int'l

Trade 2018), remanded to 389 F. Supp. 3d 1312 (Ct. Int'l Trade 2019),




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aff'd on other grounds 972 F.3d 1358 (Fed. Cir. 2020) (“Trade usage

further supports the conclusion that OMG’s zinc anchors are not nails.”).

     In ArcelorMittal, this Court held that Commerce may draw upon

industry or trade usage of a scope term in discerning that term’s plain

meaning. See 694 F.3d at 88, 90 (Finding the scope language to be

unambiguous when read in light of industry practice). Here, similarly

Commerce is required to look to the Teal Sheets to interpret the scope of

the orders. The Teal Sheets provide the necessary context that give

meaning to the terms used in the Orders as the international standard

on aluminum alloy designation.

     There is no dispute as to the interpretation of the Teal Sheets.

Commerce agrees that, “{i}n reading Teal Sheets as a whole . . . this

source supports the interpretation that scope term ‘3XXX-series’ is

limited to registered alloys within the enumerated series with four-digit

designations assigned by the Aluminum Association.” Appx00081–

00082. Therefore, Commerce affirmatively found that the scope term

“3XXX-series” is limited to registered alloys, i.e., designated alloys.

However, Commerce abandoned the Teal Sheets and went on to

inexplicably find that the term “3XXX-series” expands to include



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unregistered alloys when followed by the modifier “as designated by the

Aluminum Association.” This is finding is unsupported by substantial

evidence because it is inconsistent the with plain language of the scope

of the Orders. Simply put, when interpreting the scope language of the

Orders in the context of trade usage of the relevant industry, there is

only one possible interpretation.

     Commerce attempts to avoid this inevitable conclusion with several

flawed findings that are each unsupported by substantial evidence or

otherwise contrary to law. As discussed in further detail below,

Commerce (1) improperly found that the word “designate” is a general

term as opposed to an industry term, and (2) ignored its surrounding

language to reach a belabored result inconsistent with the language of

the orders.

              1.   Commerce Improperly Found that “Designate” is a
                   General Term

     The Scope Redetermination concluded that the scope language of

the Orders is ambiguous because “’designate’ is a general term that may

be used in the common vernacular.” Appx00080. This finding is incorrect

and therefore unsupported by substantial evidence.




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      As discussed above, there is a single industry-specific definitional

source in the administrative record: the Teal Sheets. And, “designate”

has a clear industry meaning upon review of the Teal Sheets. As the CIT

explained, “{t}he Teal Sheets contain ‘designations and chemical

composition limits for wrought aluminum and wrought aluminum alloys

registered with The Aluminum Association.’” Valeo I at 1335. Appx00008.

“Thus, from the outset, the Teal Sheets use the term ‘designation’ to refer

to registered alloys.” Id.

      “Designate” is an industry-specific term. Indeed, it is surrounded

by industry-specific terms in the scope, as Commerce acknowledges.

Appx00080 (“The term ‘3XXX-series is an industry specific term defined

only by the industry publication Teal Sheets”). Similarly, “designate” is

used in the Teal Sheets as well.

      In a bid to argue that “designate” is a general term uninformed by

the Teal Sheets, Commerce found that the Teal Sheets use the term

“designation” but that the scope uses the term “designate,” which may

be defined differently as “to point out the location of.” Appx00080 (“For

instance, Merriam Webster dictionary defines ‘designate’ among other

things as ‘to point out the location of.’”). In short, Commerce found that



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it could not rely exclusively on the Teal Sheets because the scope uses

the term “designate” instead of “designation.” See id.

     There are several issues with the reasoning. Most importantly,

“designate” is not a phrase that appears in isolation. The phrase in the

scope language, when read in context, is “as designated by the Aluminum

Association.” Moreover, Commerce itself acknowledges that “designate”

is preceded by the industry term “3XXX-series.” When read in that

context, there is only one possible interpretation of this language.

Designate, whether in the present tense, the past tense, or in its noun

form can only have a single meaning when read in the context of the scope

language. To avoid this inevitability, Commerce attempts to take a

disjointed approach in the Scope Redetermination, breaking up the

language of the scope and interpreting it in isolation

      Furthermore, the Teal Sheets do not solely use the term

“designation” in referring to its system of designating registered alloys.

For example, the Teal Sheets state: “{t}his recommendation describes a

four-digit numerical system for designating wrought aluminum and

wrought alloys.” Appx00897. (emphasis added). Commerce’s argument

therefore mischaracterized the Teal Sheets.



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       Even assuming the Teal Sheets on their face are not enough, there

are other definitional sources specific to the industry Commerce ignored

that confirm this point. For example, note 6 to Chapter 76 of the

Harmonized Tariff Schedule of the United States (“HTSUS”) explains

that “{f}or the purposes of statistical reporting numbers,” including

HTSUS subheading 7606.12.3091 (the heading under which the T-series

sheet is classified), “‘heat-treatable industrial alloys’ refers to aluminum

containing by weight 3.0 percent or less of magnesium and 3.0 percent or

less of silicon, and/or are designated as series 6xxx in the Aluminum

Association’s specifications of registered alloys.” Appx00957 (emphasis

added). It is clear that industry use of the term “designated” refers to the

Teal    Sheets, also      referred to as    the Aluminum         Association’s

specifications.

            2.    Commerce’s Interpretation of the Scope Language is
                  Vague and Internally Inconsistent

       On its face, Commerce’s interpretation of the scope language is

convoluted, internally inconsistent, and vague.

       Commerce explains in the Scope Redetermination that “designate”

can be interpreted as a general term used in the common vernacular

identifying the “the location of the alloy series definitions.” Appx00081–


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00082. Commerce reasoned that “the phrase ‘as designated by the

Aluminum Association’ in the scope language, directs us to the location

of the alloy series definitions where we could interpret . . . a 3XXX-series

alloy as having a major alloying of manganese . . . .” Appx00081.

      In so reasoning, Commerce fails to specify exactly where the

location of the alloy series definition is or what definitions it is referring

to. Indeed, if Commerce were to expand on this reasoning it would run

into the very same issue as discussed above: the definitions of the alloy

series (which are located in the Teal sheets) contemplate “the addition of

three more digits to complete the four-digit designation” of the alloy. See

Valeo I at 1335. Appx00008.

      Moreover, as held in Valeo I and adopted by Commerce, the term

“3XXX-series” is already limited to registered alloys which, presumably,

would be part of the definition that Commerce is referring to. See id.

Commerce itself found that “based on the Teal Sheets recommendation

. . . the first digit {in 3XXX-series} identifies the alloy series contemplates

the addition of three more digits to account for a complete four-digit

registration.   Appx00141.     Even      applying     Commerce’s      belabored

interpretation of the scope language, the location of the alloy series



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definitions still notate three X’s in each series “contemplating the

addition of three more digits to complete the four-digit designation.” See

Valeo I at 1335. Appx00008. See also Appx00897.

    C.   Commerce Failed to Appropriately Interpret the Term
         “Common” Within the Scope Language

    Commerce failed to appropriately interpret the term “common,”

which is embedded in the scope language. The scope of the orders covers

“aluminum common alloy sheet (common alloy sheet).”               AD Order,

84 Fed. Reg. at 2,815; CVD Order, 84 Fed. Reg. at 2,158 (emphasis added).

     In its scope ruling request, Valeo argued that the term “common”

should be interpreted with the plain meaning “known to the community”

based on its dictionary definition. Appx01253. Valeo also argued that this

unambiguous term controls the scope inquiry at issue because it confirms

that the scope only covers designated alloys. In the Final Scope Ruling,

Commerce rejected the plain meaning of “common” and noted that the

preliminary scope determination from the initial investigation stated

that “{t}he scope includes all products which meet the physical

description of the scope and do not otherwise qualify for an exclusion.”

Appx01266. Commerce’s position fails to explicitly state whether or not

the term “common” in the scope is ambiguous and in effect deprives this


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scope term of any meaning. Therefore, Commerce’s failure to interpret

the term amounts to unlawful modification to the scope language.

     The CIT did not reach this issue in Valeo I. Valeo I at 1338 n.27

(“The court does not reach Valeo’s arguments concerning the meaning of

the term “common” . . . Valeo’s arguments implicate the meaning of the

scope terms subject to the remand and thus, the court will defer

resolution of them, to the extent they remain live, until Commerce issues

its remand redetermination.”) Appx00010, Appx00016.

     On remand, Valeo once again raised this issue. Appx00056,

Appx00138. In the Scope Redetermination, Commerce rejected Valeo’s

arguments but again failed to explicitly find whether or not the word

“common” is ambiguous and give any meaning to the scope term. See

Appx00138–Appx00139.

     These arguments were not addressed in Valeo II despite the CIT

stating in Valeo I that “the court will defer resolution {of this issue}, to

the extent they remain live, until Commerce issues its remand

redetermination.” Valeo I at 1338 n.27. Appx00010, Appx00016.




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V.    Commerce’s Use of a Separate Rate Application to
      Extrapolate a Scope Determination is Unsupported
      Substantial Evidence and Contrary to Law

      In its Scope Redetermination, Commerce unlawfully adopted a

third party’s confidential submission unrelated to scope (Alcha’s separate

rate application3), as an alternative k(1) source to create a “competing”

k(1) source to the Teal Sheets. Appx00082–00083. The resulting conflict,

according to Commerce, necessitated recourse to a k(2) analysis.

Appx00086, Appx00093. Commerce’s              adoption of a confidential

submission, unrelated to scope, and unrelated to any party to this

proceeding is unlawful.

     A.   (K)(1) Sources       Must      Be    Public,    Coherent,     and
          Ascertainable

      The Department’s regulations only allow three types of sources to

be considered in a (k)(1) analysis: the descriptions of merchandise

contained in the petition, the investigation, and determinations of

Commerce and the International Trade Commission. 19 C.F.R.

§ 351.225(k)(1). To be a valid k(1) source, Commerce, and the public,

must be able to draw ascertainable standards from the source and that



      Commerce placed Alcha’s separate rate application on the record
      3


on remand before the CIT. Appx01446.


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source must provide information publicly available at the time the order

was issued. Mid Continent Nail Corporation v. U.S., 725 F.3d 1295, 1304

(Fed. Cir. 2013). Prior determinations of Commerce (including scope

determinations) may be relied upon “so long as these prior

determinations were publicly available at the time” the order was issued.

Id. Rulings that were not publicly available at the time an order was

issued cannot be used to articulate new interpretive criteria in a scope

determination. See id. Moreover, public source information must provide

clear and ascertainable standards to be a valid k(1) source. Star Pipe

Products v. U.S., 981 F.3d 1067, 1074 (Fed. Cir. 2020). Public, coherent,

contemporaneous guidance is necessary to provide importers with

“adequate notice of what conduct is regulated by the order,” before

“imposing a significant exaction in the form of an antidumping duty.”

Mid Continent Nail, 725 F.3d at 1300 (quotations omitted).

     While the Administrative Procedure Act does not forbid agencies

from using adjudicative proceedings to develop new interpretations of

statutes, regulations, or orders, see NLRB v. Bell Aerospace Co., 416 U.S.

267, 294 (1974), it does require agencies “to avoid the inherently

arbitrary nature of unpublished ad hoc determinations,” see Morton v.



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Ruiz, 415 U.S. 199, 232 (1974)). Cf. 44 U.S.C. § 1507 (providing that “{a}

document required by {law} to be published in the Federal Register is not

valid as against a person who has not had actual knowledge of it” until it

is so published).

    B.    Alcha’s Separate Rate Application is Not a Public Source
          and the Separate Rate Determination Does Not Provide
          Clear and Ascertainable Standards

     While prior determinations may be relevant under 19 C.F.R.

§ 351.225(k)(1),    such    relevancy     is   extinguished     when     those

determinations are not public or do not provide clear and ascertainable

standards. Therefore, Alcha’s separate rate application and Commerce’s

subsequent Separate Rate Determination must be disregarded as a k(1)

source.

     Valeo II incorrectly found Commerce’s reliance on the Separate

Rate Determination proper, reasoning that “[w]hile Commerce placed

copies of the separate rate application by a respondent in the

investigation {on the record} . . . Commerce relied on its determination

with respect to the separate rate application as a (k)(1) source.” Valeo II

at 14. Appx00031. While it is true that Commerce did rely on its Separate

Rate Determination, the critical fact Commerce relies on for its use as a



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(k)(1) source is the numerical code of an alloy that is confidential. To be

clear; the Separate Rate Determination in and of itself contains no

discussion of the scope language nor the issue of unregistered alloys and

designations. 4 Indeed, this is why Commerce needed to place new,

confidential information on the record. Commerce’s Separate Rate

Determination is meaningless when read in isolation. The determination

must be read in conjunction with the new, confidential information

placed on the record (i.e., Alcha’s separate rate application) to have any

apparent relevance to this action.

     The Separate Rate Determination is thereby not an interpretative

source for considering a scope issue because it lacks any discussion about

a scope issue. Since the Separate Rate Determination lacks any

discussion, analysis, or explanation about a scope issue, it is not an

interpretative source. To find that this Separate Rate Determination is a


     4
       See Scope Redetermination at 43 (“In the Final AD Determination,
Commerce determined that the export-producer combination of Alcha
International and Jiangsu Alcha was entitled to a separate rate.”) (citing
Antidumping Duty Investigation of Common Alloy Aluminum Sheet from
the People's Republic of China: Affirmative Preliminary Determination of
Sales at Less-than-Fair Value, Preliminary Affirmative Determination of
Critical Circumstances, and Postponement of Final Determination, 83
Fed. Reg. 29,088 (June 22, 2018) and accompanying Preliminary Decision
Memorandum). Appx00083.


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public determination putting exporters on notice that their merchandise

is subject to the Orders is therefore unsupported by substantial evidence.

     Courts   have       cautioned   Commerce        against   using      ad   hoc

determinations that do not provide an “ascertainable standard that

would allow importers to predict how Commerce would treat their

{imported} products.” Mid Continent Nail, 725 F.3d at 1305.                    The

Separate Rate Determination provides no ascertainable standards. In

fact, it provides no standards at all and no specific or general guidance

regarding scope, or even suggests that it is in any way related to scope.

As such, the determination must be disregarded as a k(1) source.

     Valeo II found Valeo’s reliance on this Court’s precedent to be

inapposite because the cases in question dealt with mixed media. Valeo

II at 15 (“Valeo again relies on Federal Circuit opinions governing

Commerce’s mixed media analysis, which, as stated above, is analytically

distinct.”) Appx00032. However, regardless of the products at issue, the

proposition that Commerce must use public source information in order

to provide coherent and ascertainable standards applies generally. This

is not limited to mixed media. Indeed, in Mid Continent Nail, this Court

found that (k)(1) determinations must be public: “In some cases, this



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guidance may be found in the third of the (k)(1) criteria—‘the {prior}

determinations      of    {Commerce}         (including       prior     scope

determinations),’ see 19 C.F.R. § 351.225(k)(1)—so long as these prior

determinations were publicly available at the time that the antidumping

order was issued.” 725 F.3d at 1304. Furthermore, published guidance

“must provide a clear and ascertainable standard” to enable importers to

predict how Commerce would treat their products. Star Pipe Prods. v.

United States, 981 F.3d 1067 (Fed. Cir. 2020).

     These are foundational principles that Commerce is required to

follow here as well. An importer would not be able to ascertain whether

or not an unregistered alloy was within the scope of the Orders based on

Commerce’s Separate Rate Determination unless they had access to

Alcha’s confidential information.

     Finally, Valeo II also stated that certain of Valeo’s arguments asked

the CIT to reweigh the evidence, i.e., Commerce’s separate rate

application. Valeo II at 15–16 (“The fact that Commerce ultimately

decided to give little weight to the separate rate determination does not

mean that Commerce may not consider the separate rate determination

at all.”). Appx00032–00033. However, Valeo did not ask the CIT, nor



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does it ask this Court, to re-weigh record evidence. Valeo argues, for

various reasons, that the Separate Rate Determination is not a proper

(k)(1) source and relying upon it, as Commerce did, is contrary to law. In

Valeo I, the CIT found that Commerce improperly relied on a different

piece of evidence, the Weritz Declaration, and found Commerce’s use of

the declaration contrary to law. Valeo I, at 1337–1338. Appx00009.

Finding that evidence that Commerce relies on is contrary to law is

squarely within the role of the courts. See id.

    C.    Commerce Improperly Used the Separate Rate
          Determination to Substitute the Language of the Scope

     As discussed above, when read properly, the scope of the Orders has

a clear meaning in the industry context.

     In evaluating a scope ruling, this Court has emphasized that

“Commerce may not . . . interpret the scope of an order contrary to the

order’s terms or in such a way so as to change the scope of the order.”

Glob. Commodity Grp. LLC v. United States, 709 F.3d 1134, 1138 (Fed.

Cir. 2013). Furthermore, as stated in Duferco Steel, 296 F.3d at 1097,

while review of k(1) materials may provide valuable guidance as to the

interpretation of the final order, they cannot substitute for the language

in the order itself. As such, the common meaning of the language governs


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above any other factor. In the Scope Redetermination, Commerce

improperly substituted the Separate Rate Determination for the plain

language of the scope.

    D.    Except For Alcha’s Separate Rate Determination,
          Commerce Disavows Alcha’s Submissions as Having any
          Relevancy to Scope

     Despite basing its entire analysis on competing k(1) sources derived

from inferences on       Alcha’s separate rate application, Commerce,

incredibly, disavowed any conclusions associated with the specific Alcha

aluminum alloy referenced in the Remand Redetermination, i.e., the

grade serving as the basis for Commerce’s scope determination.

     Commerce reasoned that because Valeo did not cite any

information indicating that Alcha filed a scope inquiry for this specific

alloy grade, “it is not possible for Commerce’s analysis to infer that

Alcha’s {} alloy is included within the scope of the Orders based on Alcha’s

non-existent participation in a scope inquiry.” Appx00148.

     Thus, on one hand, Commerce claims that that Alcha’s treatment

of one particular alloy provides meaningful industry guidance regarding

scope, but then admits that that it is “not possible for Commerce’s

analysis to infer that Alcha’s {} alloy is included within the scope of the



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Orders.” Given that admittedly Commerce cannot, and did not, make

any finding related to scope concerning Alcha’s alloy, its claim that

Commerce’s analysis of Alcha’s separate rate application and the related

Separate Rate Determination is unsupported by substantial evidence

and contrary to law.

VI.   Commerce Misinterpreted the Relevance of Heat Treatment
      to the Scope of the Orders

      A question in this proceeding is whether T-series sheet is

manufactured from a 3xxx-series core. Heat-treatment is relevant to this

question because the term “3xxx-series” refers to non-heat-treatable

alloys. The T-series sheet is manufactured using a three-step heat

treatment process. Appx01250.

      In the Scope Redetermination, Commerce found that the phrase

“heat-treatment” means “solution heat-treatment” and that the phrase

“heat-treatable alloy” refers to “an alloy that can undergo solution heat-

treatment.” Appx00065. Commerce addressed whether the T-series

aluminum sheet undergoes solution heat-treatment and found that it

does not. Appx00065–00069. Instead, Commerce determined that Valeo’s

T-series sheet “undergoes a combination of annealing and cold-working”




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that did not preclude classification as a 3XXX-series alloy. Appx00069.

The CIT sustained this finding in Valeo II. Valeo II at 17. Appx00034.

     While lengthy, Commerce’s analysis of heat treatment in the Scope

Redetermination     is   unsupported      by   substantial     evidence.   See

Appx00065–00077. 3xxx-series alloys are non-heat-treatable. The

Aluminum Association specifically lists 3xxx-series under non-heat-

treatable alloys in its informational material entitled “Aluminum Alloys

101.” Appx00903–00906. In the underlying investigation, the ITC

specifically stated heat-treated aluminum was not within the scope of the

Orders.5 Further, the CIT held, “to the extent that the record shows that

3XXX-series alloys are not heat-treatable, . . . the record does not indicate

that there are exceptions within the 3XXX-series alloys.” Valeo I at 1340.

Appx00011.




     5
       Valeo I at 1340 (“[H]owever, heat-treated aluminum sheet (e.g.,
6xxx alloy series) is not covered by Commerce’s scope.”) (quoting
Common Alloy Aluminum Sheet from China, Inv. Nos. 701-TA-591 and
731-TA-1399, USITC Pub. 4861 (Jan. 2019) (Final) (“USITC Pub. 4861”)
at I-18 (“USITC Pub. 4861”)). Appx00011.
     See Common Alloy Aluminum Sheet from China, Inv. Nos. 701-
TA-591 and 731-TA-1399, USITC Pub. 4861 (Jan. 2019) (Final) (“USITC
Pub. 4861”) at I-18 (“USITC Pub. 4861”).


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     Commerce did not question the Court’s finding in Valeo I. In fact,

Commerce used the CIT’s finding for support that a registered 3XXX-

series alloy (selected for comparison to the core layer of T-series sheet) is

non-heat-treatable.      Appx00075.      However,     Commerce        made   a

contradictory finding that the record does not “indicate that the scope

excludes heat-treatable sheet.” Appx00078. First, this statement

misdescribes the issue in this proceeding, which is whether 1XXX, 3XXX,

and 5XXX alloys referenced in the scope are commonly known a non-heat-

treatable alloys. The scope does not exclude heat-treatable sheets; it only

covers aluminum series that are non-heat-treatable. Second, Commerce’s

statement is factually incorrect because all alloys in the enumerated

series are non-heat-treatable. The record does not indicate that there are

exceptions within the three series referenced in the scope.

VII. Commerce Must Revoke Its Previous Customs Instructions.

     Commerce must revoke its previous instructions to the U.S.

Customs and Border Protection (“Customs”). These instructions have

been sent to Customs based on Commerce’s final scope ruing dated

October 15, 2021. However, the CIT held the scope ruling unlawful. Since




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there is no lawful basis for the Customs instructions, Commerce must

revoke them.

     On February 15, 2023, Commerce initiated a scope inquiry under

19 C.F.R. § 351.225(e). Under § 351.225(l), when Commerce conducts a

scope inquiry under subsection (e), it may only issue Customs

instructions when the inquiry has been initiated. This Court has held

that § 351.225(l) “does not allow suspension of liquidation before a scope

inquiry.” United Steel and Fasteners, Inc. v. U.S., 947 F.3d 794, 801 (Fed.

Cir. 2020); see also Sunpreme Inc. v. U.S., 946 F.3d 1300 (Fed. Cir. 2020).

Therefore, suspension of liquidation prior to February 15, 2023 is

unlawful.

     Commerce claims that “{w}hile Commerce initiated a broader scope

inquiry under 19 C.F.R. § 351.225(e) on remand, this does not disturb

Commerce’s authority to suspend liquidation pursuant to a final scope

ruling under 19 C.F.R. § 35.225(d).” Appx00137. However, the Court’s

remand order does. The CIT’s decision has rendered the final scope ruling

unlawful and the continued suspension of liquidation of and obligation to

post cash deposits for Valeo’s entries dating back to October 15, 2021,

unlawful.



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     Commerce further claims that “the initiation of the scope inquiry

would continue the suspension of liquidation pursuant to the Final Scope

Ruling” because § 351.225(l) permits continued suspension when “the

product in question is already subject to suspension.” Appx00137,

Appx00161. However, the reason why the product is already subject to

suspension is because Commerce issued Customs instructions based on

the unlawful final scope ruling.

     Commerce is not required “to initiate a formal scope inquiry when

the meaning and scope of an existing antidumping order is clear.” Ams

Assocs., Inc. v. U.S., 737 F.3d 1338, 1344 (Fed. Cir. 2013), citing Huaiyin

Foreign Trade Corp. (30) v. U.S., 322 F.3d 1369, 1378–79 (Fed. Cir. 2003).

However, a formal initiation of a scope inquiry represents “a finding by

the Department that it cannot resolve the issue on the basis of the plain

language of the scope description or the clear history of the original

investigation.”6 “Accordingly, when Commerce ‘clarifies’ the scope of an

existing antidumping duty order that has an unclear scope, the

suspension of liquidation and imposition of antidumping cash deposits



     6
      Antidumping Duties; Countervailing Duties: Final Rule, 62 Fed.
Reg. 27,296, 27,328 (May 19, 1997).


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may not be retroactive but can only take effect “on or after the date of the

initiation of the scope inquiry.” AMS Assocs., 737 F.3d at 1344.

     Here, Commerce initiated a scope inquiry on February 15, 2023.

The initiation of the scope inquiry required a finding by Commerce that

the scope is unclear. In the prior scope ruling, Commerce found that the

scope is clear and did not require a scope inquiry. Commerce cannot rely

on conflicting findings to make inconstant decisions. It would be

arbitrary, capricious, and otherwise unlawful for Commerce to find that

the scope is clear so that retroactive suspension from the date of the final

scope ruling is justified and then decide that the scope is unclear so that

a formal scope inquiry permitting a k(2) analysis can be initiated.

Commerce simply cannot have it both ways.

                             CONCLUSION

     For the foregoing reasons, Plaintiff-Appellant respectfully requests

that this Court reverse the judgment of the Court of International Trade




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and vacate as unlawful Commerce’s scope ruling that Valeo’s T-series

aluminum sheet is covered by the scope of the Orders.

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                 UNITED STATES COURT OF INTERNATIONAL TRADE


    VALEO NORTH AMERICA, INC.,

             Plaintiff,

                   v.

    UNITED STATES,
                                              Before: Mark A. Barnett, Chief Judge
             Defendant,                       Court No. 21-00581

                  and

    ALUMINUM ASSOCIATION COMMON
    ALLOY ALUMINUM SHEET TRADE
    ENFORCEMENT WORKING GROUP,
    ET AL.,

             Defendant-Intervenors.


                                       JUDGMENT

        This case having been submitted for decision, and the court, after due

deliberation, having rendered an opinion; now, in conformity with that opinion it is

hereby:

        ORDERED that the Final Scope Ruling issued in connection with the

antidumping duty and countervailing duty orders on common alloy aluminum sheet from

the Peoples Republic of China, ECF No. 18-6 (public version), 1 as amended by the




1
 The confidential version of the Final Scope Ruling is contained in Tab 26 of the
Confidential Joint Appendix, ECF No. 40.



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Confidential Final Results of Redetermination Pursuant to Court Remand, ECF No. 61-

1, is SUSTAINED.

                                             /s/   Mark A. Barnett
                                             Mark A. Barnett, Chief Judge

Dated: November 8, 2023
      New York, New York




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                                                 Footnotes


1   The administrative record associated with Commerce's scope determination is contained in public and
    confidential administrative records filed in the antidumping and countervailing proceedings underlying the
    China CAAS Orders. Because the relevant parts of the administrative records are identical, the court cites to
    the documents filed in the ADD proceeding. See Public ADD Index (PR), ECF No. 18-3; Public CVD Index,
    ECF No. 18-2; Confid. ADD Index (CR), ECF No. 18-5; Confid. CVD Index, ECF No. 18-4. Valeo submitted
    joint appendices containing all record documents cited in the Parties respective Rule 56.2 briefs. See Confid.
    J.A. (CJA), ECF No. 40; Public J.A., ECF No. 41. The court references the confidential documents.

2   The public version of the Final Scope Ruling is filed at ECF No. 18-6.

3   Defendant-Intervenors consist of the Aluminum Association Common Alloy Aluminum Sheet Trade
    Enforcement Working Group and its Individual Members: Aleris Rolled Products, Inc., Arconic Corporation,
    Commonwealth Rolled Products Inc., Constellium Rolled Products Ravenswood, LLC, Jupiter Aluminum
    Company, JW Aluminum Company, and Novelis Corporation. Defendant-Intervenors incorporated by
    reference some of the Government's arguments and presented additional arguments on certain issues. See
    Def-Ints. Opp'n at 13-21.

4   Commerce recently revised its scope regulations; the revisions apply to scope inquiries for which a scope
    ruling application is filed ... on or after the effective date of November 4, 2021. See Regulations To Improve
    Administration and Enforcement of Antidumping and Countervailing Duty Laws, 86 Fed. Reg. 52,300, 52,300,
    52,327 (Dep't Commerce Sept. 20, 2021). The court cites to the prior regulations that were in effect when
    Valeo submitted its complete scope application.




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5    To be dispositive, the (k)(1) factors must be controlling of the scope inquiry in the sense that they definitively
     answer the scope question. Sango Int'l L.P. v. United States, 484 F.3d 1371, 1379 (Fed. Cir. 2007).

6    The (k)(2) factors include: (i) The physical characteristics of the product; (ii) The expectations of the ultimate
     purchasers; (iii) The ultimate use of the product; (iv) The channels of trade in which the product is sold; and
     (v) The manner in which the product is advertised and displayed. 19 C.F.R. § 351.225(k)(2).

7    Parties agree that the phrase as designated by the Aluminum Association used in the sentence to describe
     not clad aluminum sheet also modifies the phrase 3XXX-series core appearing in the next sentence
     describing clad aluminum sheet. Oral Arg. 2:10-3:20 (reflecting the timestamp from the recording on file
     with the court).

8    Because Valeo filed its Fourth Ruling Request after 5:00pm on March 23, 2021, Commerce considered the
     submission to be filed on March 24, 2021. Final Scope Ruling at 1 n.1.

9    On November 30, 2021, Valeo voluntarily dismissed an action commenced pursuant to 28 U.S.C. § 1581 (i)
     in which Valeo sought to compel Commerce to issue its scope ruling and to obtain a declaratory judgment
     that Commerce's extensions were unlawful. See Notice of Dismissal, Valeo N. Am., Inc. v. United States,
     Court No. 21-cv-00426 (Nov. 30, 2021); Compl. ¶¶ 28-37, Valeo N. Am., Inc. v. United States, Court No.
     21-cv-00426 (Aug. 17, 2021). While Valeo's reply brief alluded to the asserted completeness of the First
     Ruling Request, Valeo did not raise substantive claims or arguments concerning any alleged unlawfulness of
     Commerce's extensions in this litigation. See Compl. ¶¶ 49-79 (setting out Valeo's claims); Pl.s Mem. at 13
     (summary of Valeo's arguments in which Valeo asserted, without more, that it wait[ed] more than 18 months
     for a determination that Commerce is required to conduct in 45 days).

10   The DIPs cited to an Aluminum Association standards publication stating that [t]he composition of the
     cladding may be subsequently altered by diffusion between the core and cladding due to thermal treatment.
     First DIPs Cmts. at 9 (quoting First DIPs Cmts., Attach. 2 at 6-4 n.1). Attachment 2 consists of a publication
     titled Aluminum standards and data 2017, issued by the Aluminum Association.

11   Commerce first found that Valeo's product is a  multi-alloy product based on Valeo's description of the
     product as one that contains intermediate input layers of an outer layer of aluminum alloy 4045 that has a
     principal alloying element of silicon and an inner layer of a proprietary aluminum alloy that has a principal
     alloying element of manganese. Final Scope Ruling at 12. Valeo does not contest this finding.

12   Exhibit 3 consists of the January 2015 version of the Aluminum Association's Teal Sheets. The record also
     contains the August 2018 version of the Aluminum Association's Teal Sheets, which the court references
     and cites herein. First DIPs Cmts., Attach. 5 (Teal Sheets).

13   Commerce disagreed with Valeo that the explicit inclusion of proprietary alloys in the scopes of other ADD
     and CVD orders supports a narrower interpretation of the underlying order that lacks such language. Final
     Scope Ruling at 15; see also Common Alloy Aluminum Sheet From Bahrain, et al., 86 Fed. Reg. 22,139
     (Dep't Commerce Apr. 27, 2021) (ADD orders) (Bahrain CAAS Order); Aluminum Extrusions from the
     People's Republic of China, 76 Fed. Reg. 30,650 (Dep't Commerce May 26, 2011) (ADD order) (China
     Extrusions Order). The Bahrain CAAS Order contains certain language identical to the China CAAS Orders
     with the following addition: The use of a proprietary alloy or non-proprietary alloy that is not specifically
     registered by the Aluminum Association as a discrete 1xxx-, 3xxx-, or 5xxx-series alloy, but that otherwise
     has a chemistry that is consistent with these designations, does not remove an otherwise in-scope product
     from the scope. Bahrain CAAS Order, 86 Fed. Reg. at 22,143. The China Extrusions Order covers, inter
     alia, aluminum extrusions ... made from aluminum alloys having metallic elements corresponding to the alloy




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     series designations published by The Aluminum Association commencing with the numbers 1, 3, and 6 (or
     proprietary equivalents or other certifying body equivalents). 76 Fed. Reg. at 30,650.

14   For the referenced information, see Common Alloy Aluminum Sheet from China, Inv. Nos. 701-TA-591
     and 731-TA-1399, USITC Pub. 4861 (Jan. 2019) (Final) (USITC Pub. 4861) at I-18, available at https://
     www.usitc.gov/publications/701_731/pub4861.pdf (last visited Dec. 21, 2022).

15   Commerce does not cite to the source of this information but describes it as the Preliminary Scope
     Memorandum. The court understands this reference to mean the preliminary scope memorandum from
     the investigation underlying the China CAAS Orders. See Commerce Factual Info., Attach. 4 (Scope Cmts.
     Prelim. Decision Mem. (June 15, 2018)) at 6.

16   All citations to the Tariff Act of 1930, as amended, are to Title 19 of the U.S. Code and all citations to the
     U.S. code are to the 2018 edition, unless otherwise specified.

17   Valeo points to various pages and footnotes in the Final Scope Ruling to support its contention. Pl.s Mem.
     at 19 (citing Final Scope Ruling at 11 n.86, 12 n.100, 13 n.102, 14 n.111, 18 nn.133-34). Valeo also cites
     page 16, note 127 of the Final Scope Ruling, which appears to be a typographical error that should instead
     point to page 17, note 127. See Pl.s Mem. at 19.

18   Valeo further contends that the scope of the Bahrain CAAS Order supports its position. Pl.s Mem. at 25-26
     (citing Fourth Ruling Req. at 9). The proper interpretation of the Bahrain CAAS Order is not before the court.
     There are differences between the respective scopes, moreover, and thus, this is not a situation where
     Commerce has offered different interpretations of identical language. Cf. ArcelorMittal, 694 F.3d at 88-90
     (faulting Commerce for interpreting language contained in the scope of an order covering certain stainless
     steel plate to be ambiguous when Commerce found the same language in an order covering cut-to-length
     carbon steel plate to be unambiguous).

19   The Government also contends that Commerce would have used limiting language if the agency had intended
     to limit the scope to registered designations. Def.s Opp'n at 31. What Commerce could have stated is beside
     the point. The issue before the court is whether Commerce reasonably interpreted the scope language the
     agency did use.

20   At the hearing, the Government pointed to additional documentation to demonstrate use of alloy series
     regardless of registration status, including a document titled Aluminum Alloys 101 published by the
     Aluminum Association. Oral Arg. 11:00-11:35 (citing First Ruling Req., Ex. 4 (Aluminum Alloys 101)). In
     addition to being impermissibly post hoc, the Government's reliance on Aluminum Alloys 101 is misplaced.
     While the document discusses various alloy series, the document prefaces its discussion with the explanation
     that [a]lloys are assigned a four-digit number, in which the first digit identifies a general class, or series,
     characterized by its main alloying elements. Aluminum Alloys 101 at 1. While the Government emphasizes
     the latter assertion, it overlooks the first clause indicating that the alloy series designation is but one number
     in a four-digit number assigned by the Aluminum Association. See id. Thus, even the Government's post hoc
     reasoning does not show that the information contained in Aluminum Alloys 101 is understood in the industry
     to apply to unregistered alloys.

21   This interpretation of the way the term designation is used in the Recommendation is consistent with
     Appendix A to the Teal Sheets, which explains the use and assignment of designations. See Teal Sheets
     at 33. As explained therein, [d]esignations for a new alloy registration are assigned based on whether the
     alloy has chemical composition limits that are identical to a registered designation, represents a variation or
     modification of an existing alloy designation or constitutes [a] new original designation. Id. The Declaration
     of Accord on an International Alloy Designation System for Wrought Aluminum and Wrought Aluminum Alloys




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     also uses the term designation to refer to a number consistent with the Recommendation that is the product
     of a registration with the Aluminum Association and subsequent assignment by the Aluminum Association.
     See id. at 34.

22   In that case, Commerce had relied on a standards publication produced by the American Society for Testing
     and Materials as evidence of trade usage. See Final Results of Redetermination Pursuant to Remand at 6-8
     & n.4, ArcelorMittal, 35 CIT 796 (2011) (No. 08-434), ECF No. 60 (docket location for the agency decision
     reviewed in ArcelorMittal, 694 F.3d 82).

23   The current version of Commerce's regulation contains a new provision permitting Commerce to consider
     secondary interpretive sources under paragraph (k)(1) ..., such as any other determinations of [Commerce]
     or the Commission not identified above, Customs rulings or determinations, industry usage, dictionaries, and
     any other relevant record evidence. 19 C.F.R. § 351.225(k)(1)(ii) (eff. Nov. 4, 2021) (emphasis added).
     As mentioned above, however, Commerce's Final Scope Ruling is governed by the previous version of the
     regulation, which lacks this provision.

24   Commerce's reliance on the Weritz Declaration stands in contrast to Commerce's reliance on the Aluminum
     Association's 2017 Aluminum standards and data publication to define clad with respect to the extent of
     diffusion. See Final Scope Ruling at 12-13 & nn.100, 102 (citing First DIPs Cmts., Attach. 2, Table 6.1). The
     cited publication predates the scope proceeding, represents the product of a committee composed of persons
     from an array of companies, and was prepared as a guide to aid the manufacturer, the consumer, and the
     general public. First DIPs Cmts., Attach. 2 (acknowledgment and notice/disclaimer).

25   Valeo's arguments that Commerce exceeded the bounds of a (k)(1) analysis are premised on Commerce's
     reliance on the Teal Sheets and purported consideration of the physical characteristics of the T-series
     aluminum sheet. See Pl.s Mem. at 19. Except to the extent discussed herein, Commerce's determination
     complied with 19 C.F.R. § 351.225(k)(1) and (d). Valeo itself submitted a copy of the Teal Sheets to support
     its scope application. See Second Ruling Req. at 7-8, Ex. 3. And while [t]he physical characteristics of the
     product constitutes a (k)(2) factor, 19 C.F.R. § 351.225(k)(2)(i), a complete scope application must contain
     [a] detailed description of the product, including its technical characteristics and uses, and its current U.S.
     Tariff Classification number, id. § 351.225(c)(1)(i). Commerce's request for additional product information
     and consideration of such information included in Valeo's submissions in order to issue a ruling complied
     with section 351.225(d).

26   In its reply, Valeo argued that Statistical Note 6 to Chapter 76 provides further evidence that the phrase
     as designated has a narrow meaning in the industry. Pl.s Reply at 10-11 (citing Fourth Ruling Req., Ex.
     SUPP-4, ECF pp. 789-91 (Chapter 76 and accompanying Notes)). Valeo did not present this argument to
     Commerce or include it in its moving brief and, therefore, the court will not address it in the first instance.

27   The court does not reach Valeo's arguments concerning the meaning of the term common. See Pl.s Mem. at
     21-22. Valeo's arguments implicate the meaning of the scope terms subject to the remand and thus, the court
     will defer resolution of them, to the extent they remain live, until Commerce issues its remand redetermination.

28   The Aluminum Alloys 101 publication lists 3XXX-series alloys under the heading Non Heat-Treatable Alloys.
     Aluminum Alloys 101 at 2-3; cf. USITC Pub. 4861 at I-13 (describing 3XXX-series alloys as non-heat-
     treatable).

29   Commerce's reliance on the Second Weritz Declaration to find that the term heat-treatable does not apply
     to 3XXX-series alloys and to find the absence of an exclusion for heat-treatable 3XXX-series alloys, see Final
     Scope Ruling at 18 & nn.133, 137 (citing Second Weritz Decl. ¶ 7), suffers from the same problems the court
     recognized in relation to Commerce's reliance on the Weritz Declaration. The Second Weritz Declaration is




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     not a type of document included in the (k)(1) sources and Commerce did not address the propriety of relying
     on a declaration authored and placed on the record by an interested party.

30   The ITC described two heat-treating processes (annealing and solution heat-treatment and aging) and stated
     that heat-treated alloys are excluded from the scope. USITC Pub. 4861 at I-18.

31   On September 13, 1976, Congress enacted An Act to provide that meetings of Government agencies shall
     be open to the public, and for other purposes, P.L. No. 94-409, 90 Stat 1241 (1976), referred to as the
     Government in the Sunshine Act. The Act was codified at 5 U.S.C. § 552(b) and further amended 5 U.S.C.
     § 557 to include subsection (d)(1), the provision on which Valeo relies.

32   Valeo raised the argument for the first time in its reply brief. At the hearing, however, the court afforded the
     Government and Defendant-Intervenors the opportunity to address the issue. Oral Arg. 1:40:20-1:45:25.

33   Valeo points to 19 C.F.R. § 351.310(c) as authority to request a hearing in a scope proceeding but does not
     address 19 C.F.R. § 351.310(d)(2). See Pl.s Reply at 22.

34   Pursuant to 19 U.S.C. § 1516a(b)(2)(A)(i), the administrative record compiled in a scope proceeding may
     include a record of ex parte meetings required to be kept by section 1677f(a)(3).



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                                    Slip Op. 23-

               UNITED STATES COURT OF INTERNATIONAL TRADE


 VALEO NORTH AMERICA, INC.,

           Plaintiff,

                  v.

 UNITED STATES,
                                              Before: Mark A. Barnett, Chief Judge
           Defendant,                         Court No. 21-00581

                and

 ALUMINUM ASSOCIATION COMMON
 ALLOY ALUMINUM SHEET TRADE
 ENFORCEMENT WORKING GROUP,
 ET AL.,

           Defendant-Intervenors.


                                        OPINION

[Sustaining the U.S. Department of Commerces scope redetermination on remand for
the antidumping duty and countervailing duty orders on common alloy aluminum sheet
from the Peoples Republic of China.]

                                                              Dated: November 8, 2023

Daniel J. Cannistra and Pierce Lee, Crowell & Moring LLP, of Washington, DC, for
Plaintiff.

Alison S. Vicks, Senior Trial Counsel, Commercial Litigation Branch, Civil Division, U.S.
Department of Justice, of Washington, DC, for Defendant. With her on the brief were
Brian M. Boynton, Principal Deputy Assistant Attorney General, Patricia M. McCarthy,
Director, and Reginald T. Blades, Jr., Assistant Director. Of counsel on the brief was
JonZachary Forbes, Attorney, Office of the Chief Counsel for Trade Enforcement and
Compliance, U.S. Department of Commerce, of Washington, DC.

John M. Herrmann, Paul C. Rosenthal, and Joshua R. Morey, Kelley Drye & Warren
LLP, of Washington, DC, for Defendant-Intervenors.

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       Barnett, Chief Judge: This matter is before the court following the U.S.

Department of Commerces (Commerce or the agency) scope redetermination on

remand for the antidumping duty (ADD) and countervailing duty (CVD) orders on

common alloy aluminum sheet (CAAS) from the Peoples Republic of China (China).

See Confid. Final Results of Redetermination Pursuant to Court Remand (Scope

Redetermination), ECF No. 61-1; Common Alloy Aluminum Sheet From the Peoples

Republic of China, 84 Fed. Reg. 2,813 (Dept Commerce Feb. 8, 2019) (ADD order);

Common Alloy Aluminum Sheet From the Peoples Republic of China, 84 Fed. Reg.

2,157 (Dept Commerce Feb. 6, 2019) (CVD order) (together, the China CAAS

Orders). 1 The scope of the China CAAS Orders covers, inter alia:

       aluminum common alloy sheet (common alloy sheet), which is a flat-rolled
       aluminum product having a thickness of 6.3 mm or less, but greater than
       0.2 mm, in coils or cut-to-length, regardless of width. Common alloy sheet
       within the scope of this order includes both not clad aluminum sheet, as
       well as multi-alloy, clad aluminum sheet. With respect to not clad
       aluminum sheet, common alloy sheet is manufactured from a 1XXX-,
       3XXX-, or 5XXX-series alloy as designated by the Aluminum Association.
       With respect to multi-alloy, clad aluminum sheet, common alloy sheet is
       produced from a 3XXX-series core, to which cladding layers are applied to
       either one or both sides of the core.



1
   The administrative records associated with Commerces original scope ruling and the
ruling issued on remand are contained in public and confidential administrative records
filed in the ADD and CVD proceedings associated with the China CAAS Orders.
Because the relevant parts of the administrative records are identical, the court cites to
the documents filed in the ADD proceeding: Public ADD Index (PR), ECF No. 18-3;
Confid. ADD Index (CR), ECF No. 18-5; Public ADD Remand Record, ECF No. 64-1;
Confid. ADD Remand Record, ECF No. 64-2. Valeo filed joint appendices containing
the record documents cited in parties comments on the Scope Redetermination. See
Public Remand J.A., ECF Nos. 72, 72-172-6; Confid. Remand J.A. (CRJA), ECF
Nos. 73 (table of contents listing eight documents), 73-1 (docs. 15), 73-2 through 73-5
(doc. 6), 73-6 (docs. 78).



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84 Fed. Reg. at 2,815; 84 Fed. Reg. at 2,158.

       Commerce previously found that Plaintiff Valeo North America, Inc.s (Valeo) T-

series aluminum sheet is covered by the scope of the China CAAS Orders because it is

a clad aluminum product with a 3XXX-series core. See Confid. Final Scope Ruling

Determination: Valeos Heat Treated T-Series Aluminum Sheet, A-570-073, C-570-074

(Oct. 15, 2021) (Final Scope Ruling) at 1011, CR 15, PR 40, CRJA Doc. 3.

Commerce issued its decision pursuant to an analysis of the sources set forth in 19

C.F.R. § 351.225(k)(1) (2020). 2 Id. at 10.

       In Valeo North America, Inc. v. United States (Valeo I), 46 CIT __, 610 F. Supp.

3d 1322 (2022), 3 the court remanded Commerces Final Scope Ruling. While the court

sustained Commerces determination that Valeos T-series aluminum sheet is a multi-

alloy, clad product as supported by substantial evidence, id. at 1339, the court

remanded Commerces determination that Valeos product has a 3XXX-series core, id.

at 1335. The court concluded that the phrase 3XXX-series in conjunction with as

designated by the Aluminum Association is ambiguous as to whether Commerce

intended the scope to cover unregistered alloys, such as Valeos, with a major alloying

element corresponding to the Aluminum Associations alloy groups or whether



2 Commerce recently revised its scope regulations; the revisions apply to scope

inquiries for which a scope ruling application is filed . . . on or after the effective date of
November 4, 2021. Regulations To Improve Admin. and Enforcement of Antidumping
and Countervailing Duty Laws, 86 Fed. Reg. 52,300, 52,300, 52,327 (Dep't Commerce
Sept. 20, 2021). The court cites to the prior regulations that were in effect when Valeo
submitted its complete scope application.
3
  Valeo I presents background information on this case, familiarity with which is
presumed.



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Commerce intended the scope to be limited to registered alloys within the enumerated

series with four-digit designations assigned by the Aluminum Association. Id. at 1335.

The court also held that Commerce exceeded the limits of a (k)(1) analysis when it

interpreted the scope to include unregistered alloys, id., and, further, instructed

Commerce to address evidence that Valeos product undergoes heat-treatment and

reconcile such evidence with evidence indicating that 3XXX-series alloys are non-heat-

treatable, id. at 1341.

       On June 20, 2023, Commerce filed its Scope Redetermination. Therein,

Commerce concluded that it was unable to resolve the scope inquiry pursuant to 19

C.F.R. § 351.225(k)(1) and, thus, considered the factors enumerated in 19 C.F.R.

§ 351.225(k)(2). Scope Redetermination at 3. After considering the (k)(2) factors,

Commerce again concluded that Valeos T-series sheet is covered by the scope of the

China CAAS Orders. See id. at 34, 122.

       Valeo filed comments opposing Commerces Scope Redetermination. Confid. Pl.

[Valeos] Cmts. on Remand Redetermination (Valeos Cmts.), ECF No. 66. Broadly

speaking, Valeo challenges various agency conclusions underlying Commerces

decision to consider the (k)(2) factors but does not challenge Commerces findings with

respect to the (k)(2) factors. See id. at 313. Valeo also presents arguments regarding

the relevance of heat-treatment to Commerces Scope Redetermination. Id. at 1316.

Lastly, Valeo challenges Commerces decision not to revoke the instructions the agency

sent to U.S. Customs and Border Protection (CBP) following issuance of the Final

Scope Ruling. Id. at 1618.




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       Defendant United States (the Government) and Defendant-Intervenors 4 filed

comments in support of Commerces Scope Redetermination. Def.s Cmts. Supporting

Remand Redetermination (Def.s Cmts.), ECF No. 70; Def.-Ints. Resp. to [Valeos]

Cmts. on Remand Redetermination (Def.-Ints. Cmts.), ECF No. 71. For the following

reasons, the court will sustain Commerces Scope Redetermination.

                         JURISDICTION AND STANDARD OF REVIEW

       The court has jurisdiction pursuant to section 516A(a)(2)(B)(vi) of the Tariff Act of

1930, as amended, 19 U.S.C. § 1516a(a)(2)(B)(vi) (2018), 5 and 28 U.S.C. § 1581(c).

       The court will uphold an agency determination that is supported by substantial

evidence and otherwise in accordance with law. 19 U.S.C. § 1516a(b)(1)(B)(i).

       [W]hether the unambiguous terms of a scope control the inquiry, or whether

some ambiguity exists, is a question of law that [the court] review[s] de novo. Meridian

Prods., LLC v. United States, 851 F.3d 1375, 1382 (Fed. Cir. 2017). Whether a product

is covered by the language of the scope is a question of fact reviewed for substantial

evidence. Id.




4 Defendant-Intervenors consist of the Aluminum Association Common Alloy Aluminum

Sheet Trade Enforcement Working Group and its Individual Members: Aleris Rolled
Products, Inc., Arconic Corporation, Commonwealth Rolled Products Inc., Constellium
Rolled Products Ravenswood, LLC, Jupiter Aluminum Company, JW Aluminum
Company, and Novelis Corporation.
5
  All citations to the Tariff Act of 1930, as amended, are to Title 19 of the U.S. Code and
all citations to the U.S. code are to the 2018 edition, unless otherwise specified.



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                                        DISCUSSION

       I.     Legal Framework for Scope Determinations

       Because the descriptions of merchandise covered by the scope of an

antidumping or countervailing duty order must be written in general terms, questions

may arise as to whether a particular product is included within the scope of an order.

See 19 C.F.R. § 351.225(a). When such questions arise, Commerces regulations

direct it to issue scope rulings that clarify whether the product is in-scope. Id.

Although there are no specific statutory provisions that govern Commerces

interpretation of the scope of an order, Commerce is guided by case law and agency

regulations. See Meridian Prods., 851 F.3d at 1381; 19 C.F.R. § 351.225.

       Commerces inquiry must begin with the relevant scope language. See, e.g.,

OMG, Inc. v. United States, 972 F.3d 1358, 1363 (Fed. Cir. 2020). If the scope

language is unambiguous, the plain meaning of the language governs. Id. (citation

omitted). If, however, the language is ambiguous, Commerce interprets the scope with

the aid of the sources set forth in 19 C.F.R. § 351.225(k)(1). Meridian Prods., 851 F.3d

at 1382 (citation omitted). Subsection (k)(1) directs Commerce to consider the

descriptions of the subject merchandise in the petition, initial investigation, and prior

determinations by Commerce (including prior scope determinations) or the U.S.

International Trade Commission. 19 C.F.R. § 351.225(k)(1). If the (k)(1) sources are

dispositive, Commerce may issue its ruling based solely on the partys application and




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the (k)(1) sources. 19 C.F.R. § 351.225(d). 6 In all other cases, Commerce will initiate a

scope inquiry and may consider the factors enumerated in subsection (k)(2) of the

regulation. See Meridian Prods., 851 F.3d at 1382 (citing 19 C.F.R. § 351.225(k)(2)); 7

see also 19 C.F.R. § 351.225(e) (providing for Commerce to initiate a scope inquiry).

       II.    Ambiguity Regarding Governing Standards

       Valeo first contends that Commerce unlawfully claims the plain language of the

scope [is] ambiguous. Valeos Cmts. at 3 & n.2 (citing Scope Redetermination at 38).

As the Government points out, however, the court previously concluded that the scope

is ambiguous as to whether it covers an unregistered alloy such as Valeos T-series

sheet and therefore a (k)(1) analysis was warranted. Def.s Cmts. at 6; cf. Def.-Ints.

Cmts. at 12 (stating same). 8

       In Valeo I, the court explained that [t]he phrase 3XXX-series is not defined in

the scope except in reference to the phrase as designated by the Aluminum

Association, which is also undefined. 610 F. Supp. 3d at 1335. The court held that the

scope is, however, ambiguous as to whether that phrase indicates Commerces intent

to cover any alloy that contains a major alloying element corresponding to the



6
  To be dispositive, the (k)(1) sources must be controlling of the scope inquiry in the
sense that they definitively answer the scope question. Sango Intl, L.P. v. United
States, 484 F.3d 1371, 1379 (Fed. Cir. 2007).
7 The (k)(2) factors include: (i) The physical characteristics of the product; (ii) The

expectations of the ultimate purchasers; (iii) The ultimate use of the product; (iv) The
channels of trade in which the product is sold; and (v) The manner in which the
product is advertised and displayed. 19 C.F.R. § 351.225(k)(2).
8 The Government further notes that, to the extent Valeo argues that Commerce should

have found certain sources to be dispositive in its (k)(1) analysis, that argument is
addressed elsewhere in the Governments comments. Def.s Cmts. at 6.



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Aluminum Associations alloy groups (including unregistered alloys), or whether

Commerce intended the scope to be limited to registered alloys within the enumerated

series with four-digit designations assigned by the Aluminum Association. Id. Thus, in

compliance with the courts holding, Commerce first addressed whether the ambiguity

may be resolved pursuant to a (k)(1) analysis. See Scope Redetermination at 3853.

       Valeo also contends that Commerce erred to the extent that the agency found

the source for the applicable industry standard ambiguous. Valeos Cmts. at 3.

Commerce, however, reviewed the Teal Sheets publication by the Aluminum

Association first among the sources available. See Scope Redetermination at 3942. 9

To the extent Valeo argues that the phrase as designated by the Aluminum

Association is unambiguous, see Valeos Cmts. at 3; see also id. at 12 (asserting that

the Teal Sheets provides the plain meaning of as designated by the Aluminum

Association), the court has addressed, and rejected, that position, see Valeo I, 610 F.

Supp. 3d at 1335. To the extent Valeo instead argues that Commerce should have

found the Teal Sheets dispositive, the court addresses below the evidence supporting

Commerces Scope Redetermination.

       III.     Commerces Consideration of the Teal Sheets and Interpretation of
                the Phrase as Designated by the Aluminum Association

       Valeo contends that Commerce erred in considering Aluminum Association

specifications as a (k)(1) source rather than a definitional source. Valeos Cmts. at 4 &



9 The Teal Sheets contain designations and chemical composition limits for wrought

aluminum and wrought aluminum alloys registered with The Aluminum Association.
Valeo I, 610 F. Supp. 3d at 1335 (citation and emphasis omitted).



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n.3 (citing Scope Redetermination at 44). The Government contends that [t]here are

several possible interpretations of the argument being advanced by Valeo and that

each should be rejected. Def.s Cmts. at 6. Defendant-Intervenors contend that

Commerces regulations do not elevate information submitted in connection with a

scope ruling application over the (k)(1) sources. Def.-Ints. Cmts. at 3.

       In Valeo I, the court explained that the Teal Sheets, when considered in its

entirety, suggests that the use of 3 in 3XXX in the list of alloy groups indicates a

major alloying element of manganese while contemplating the addition of three more

digits to complete the four-digit designation. 610 F. Supp. 3d at 1335. 10 While

Commerce previously relied on the Teal Sheets to interpret 3XXX-series to include

unregistered alloys, the court faulted Commerce for not identifying anything in the Teal

Sheets that indicates the Aluminum Association applies [its four-digit] framework to

unregistered alloys. Id. at 133536.

       On remand, Commerce recognized that the Teal Sheets offers guidance on

industry usage of the term 3XXX-series, Scope Redetermination at 45, and

considered the Teal Sheets prior to any other source, see id. at 3942. Commerce

explained that although [t]he term 3XXX-series is an industry-specific term defined

only by the industry publication Teal Sheets[,] . . . the term designate is a general term




10
  The Aluminum Association uses a four-digit numerical system for designating
registered aluminum alloys, pursuant to which [t]he first of the four digits in the
designation system indicates the alloy group, also called the series. Final Scope
Ruling at 11. The alloys are grouped by majoring alloying elements, for example, a
3XXX series alloy has a major alloying element of manganese. Id.



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that may be used in the common vernacular and not solely in relation to the Teal

Sheets. Id. at 40. While Commerce ultimately found that the Teal Sheets weighs in

favor of finding that the scope of the [China CAAS Orders] is limited to registered alloys

within the enumerated series with four-digit designations assigned by the Aluminum

Association, id. at 42, Commerce also concluded that the Teal Sheets was not

dispositive of the proper scope interpretation, see id. at 3842. Commerce therefore

went on to consider the agencys separate rate determination 11 in the underlying ADD

investigation, discussed in more detail below, and found that source weighed against

the information contained in the Teal Sheets. See id. at 4246.

       While, at times, Commerce described the Teal Sheets together with the separate

rate determination as (k)(1) sources, see, e.g., id. at 44, the agency also recognized

that the Teal Sheets provides evidence of trade usage of relevant terminology, see id. at

45, 51, 53. Commerce explained its weighing of this evidence in connection with the

separate rate determination. See id. at 4546. Commerce ultimately found that

because the (k)(1) sources and certain record information concerning trade usage are



11 In antidumping duty proceedings involving a country, such as China, that Commerce

considers to have a nonmarket economy, Commerce employs a rebuttable presumption
that all enterprises operating within that country are controlled by the government. See,
e.g., Policy Bulletin No. 05.1: Separate-Rates Practice and Application of Combination
Rates in Antidumping Investigations involving Non-Market Economy Countries (April 5,
2005), http://enforcement.trade.gov/policy/bull05-1.pdf. Commerce assigns each
exporter of subject merchandise a single countrywide rate unless the exporter
demonstrates the absence of both de jure and de facto governmental control over its
export activities. Id. An exporter that fulfills this requirement is eligible for a separate
rate that is usually either an individually calculated rate or a weighted-average rate
based on the rates of the investigated companies, excluding any rates that are zero, de
minimis, or based entirely on facts available. Id.



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contradictory and the respective weights of these sources are not sufficient to clearly

demonstrate preeminence over the other available record information[,] . . . the (k)(1)

sources are not dispositive. Id. at 53; see also id. at 10002 (discussing Commerces

weighing of the evidence). Thus, whether characterized as evidence of trade usage or

as a (k)(1) source, Commerce considered the Teal Sheets and explained why the

information contained therein was not dispositive. It is not the courts role to reweigh

the evidence. SolarWorld Ams., Inc. v. United States, 910 F.3d 1216, 1225 (Fed. Cir.

2018) (citing Downhole Pipe & Equip., L.P. v. United States, 776 F.3d 1369, 1377 (Fed.

Cir. 2015)).

       To the extent that Valeo argues that Commerce should have found the Teal

Sheets dispositive of the meaning of the phrase as designated by the Aluminum

Association, the court considers this argument in connection with Valeos subsequent

argument that Commerce wrongly interpreted this phrase. See Valeos Cmts. at 9, 12.

Valeo contends that Commerce unlawfully define[d] the term designate as a general

term without industry-specific meaning. Id. at 9. Valeo relies on the Teal Sheets and

Statistical Note 6 to Chapter 76 of the Harmonized Tariff Schedule of the United States

(HTSUS) to support its contentions, id. at 1011, but those contentions are misplaced.

       Commerce acknowledged that the Teal Sheets uses the term designation to

identify alloys with a four-digit designation from the Aluminum Association, but went on

to explain that the scope uses the term designate, which may be defined differently as

to point out the location of. Scope Redetermination at 40 & n.267 (citing Designate,

MERRIAM-WEBSTER, https://www.merriam-webster.com/dictionary/designate (retrieved




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by Commerce May 5, 2023)). Commerce thus found that the term designate in the

scope does not necessarily refer to a four-digit alloy designation from the Aluminum

Association. Id. at 40. Instead, Commerce explained, the term designate could be

understood to refer to any alloy with a primary alloying element corresponding to the

alloy series such that the term identifies the location of the alloy series definitions

where we could interpret . . . a 3XXX-series alloy as having a major alloying agent of

manganese. Id. at 41 (emphasis added). Thus, while Commerce recognized that the

Teal Sheets supports interpreting the scope to cover registered alloys with a four-digit

designation, see id. at 4142, Commerce offered a reasoned explanation for its

conclusion that the Teal Sheets was not dispositive, id. at 4445, 113. The possibility of

drawing two inconsistent conclusions from the evidence does not preclude the agencys

finding from being supported by substantial evidence. Matsushita Elec. Indus. Co. v.

United States, 750 F.2d 927, 933 (Fed. Cir. 1984).

       Commerce also addressed Valeos reliance on Statistical Note 6, which states:

       For the purposes of statistical reporting numbers 7604.21.0010,
       7604.29.1010, 7604.29.3060, 7604.29.5050, 7606.12.3025 and
       7606.12.3091, heat-treatable industrial alloys refers to aluminum
       containing by weight 3.0 percent or less of magnesium and 3.0 percent or
       less of silicon, and/or are designated as series 6xxx in the Aluminum
       Associations specifications of registered alloys.

Scope Redetermination at 112 & n.585 (emphasis added). Commerce explained that

Statistical Note 6 is not dispositive of the meaning of the term designate because other

sources indicate that designate may not necessarily refer to a four-digit alloy




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designation from the Aluminum Association for purposes of the underlying scope. Id.

at 113. 12

       The cases on which Valeo relies do not persuade the court that Commerce must

further address the relevance, if any, of Statistical Note 6. Valeos Cmts. at 12 (citing

Mid Continent Nail Corp. v. United States, 725 F.3d 1295, 1305 (Fed. Cir. 2013);

Eckstrom Indus., Inc. v. United States, 254 F.3d 1068, 1073 (Fed. Cir. 2001)). In

Eckstrom Industries, the U.S. Court of Appeals for the Federal Circuit (Federal Circuit)

characterized the tariff classification listed in the underlying order as a factor for

Commerce to consider in determining the scope of [an order]. 254 F.3d at 1073.

Here, however, Statistical Note 6 is not referenced in the scope of the China CAAS

Orders, see Scope Redetermination at 45, and Commerce explained its reasons for

declining to rely on Statistical Note 6 to define scope terms, see id. at 11213.

       Mid Continent is inapposite. There, the Federal Circuit addressed whether steel

nails imported as part of a mixed media tool kit were covered by the scope of an order

that otherwise covered the included nails. 725 F.3d at 1298. The appellate court

explained that Commerce may consult the HTSUS as part of its mixed media analysis if




12
   Defendant-Intervenors argue that Statistical Note 6 was not included in the HTSUS
until several months after Commerce published the China CAAS Orders and, thus,
cannot be considered evidence of Commerces intent with respect to the meaning of the
scope language. Def.-Ints. Cmts. at 8. Defendant-Intervenors also argue that the
inclusion of the phrase of registered alloys in Statistical Note 6 distinguishes the note
from the underlying scope, which does not include that phrase. Id. at 9. Such
arguments go beyond Commerces rationale with respect to the relevance of Statistical
Note 6 and, thus, the court need not further consider them. See Burlington Truck Lines,
Inc. v. United States, 371 U.S. 156, 16869 (1962).



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the agency had a prior practice of doing so but expressed no view on the weight to be

afforded that analysis. See id. at 1305. This case does not involve a mixed media

product and, thus, cases addressing Commerces analytical approach in such situations

are of little value here.

       In sum, Valeos arguments concerning the Teal Sheets and Statistical Note 6

reflect mere disagreement with Commerces weighing of the evidence. That approach

mistakes the courts function, which is not to reweigh the evidence. SolarWorld Ams.,

910 F.3d at 1225.

       IV.     Commerces Consideration of a Separate Rate Determination

       Valeo raises several arguments concerning Commerces consideration of a

separate rate determination made as part of the investigations final determination.

None are persuasive.

       Valeo first contends that Commerce unlawfully considered a confidential

separate rate application by a respondent in the investigation underlying the China

CAAS Orders to constitute a (k)(1) source. Valeos Cmts. at 5. While Commerce

placed copies of the separate rate application on the record of the remand proceeding,

see Scope Redetermination at 4243 & n.275, Commerce relied on its determination

with respect to the separate rate application as a (k)(1) source, see, e.g., id. at 42

(referencing the agencys finding based on Commerces separate rate determination in

the underlying [ADD] investigation); id. at 44 (inferring Commerces intent with respect

to the scope language from Commerces separate rate determination).




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       To the extent that Valeo argues that Commerces separate rate determination is

not a permissible (k)(1) source, Valeo offers no reason why language in the regulation

referencing the determinations of the [agency], 19 C.F.R. § 351.225(k)(1), may not be

interpreted to include a separate rate determination which formed part of the final

determination in the underlying investigation, see Scope Redetermination at 10405

(addressing the argument). Valeo instead argues that the separate rate determination

is not a public document and does not provide ascertainable standards for scope

interpretation. See Valeos Cmts. at 68. In so doing, Valeo again relies on Federal

Circuit opinions governing Commerces mixed media analysis, which, as stated above,

is analytically distinct. Id. (citing, inter alia, Mid Continent, 725 F.3d at 1305; Star Pipe

Prods. v. United States, 981 F.3d 1067, 1071 (Fed. Cir. 2020)).

       Valeo further asserts that the separate rate determination is not an interpretive

source for considering a scope issue because it lacks any discussion about a scope

issue, Valeos Cmts. at 8, and argues that there is no rational connection between

scope and [the separate rate application] that supports the implied determination related

to scope, id. at 9. Such arguments, however, implicate the weight, if any, to be

afforded the separate rate determination, a point with which Valeo appeared to

concede. See id. (relying on the weight Commerce afforded the separate rate

determination to assert that the agencys consideration of the document was in error).

The fact that Commerce ultimately decided to give little weight to the separate rate

determination does not mean that Commerce may not consider the separate rate




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determination at all. Accordingly, Valeos arguments regarding Commerces

consideration of the separate rate determination are not persuasive. 13

       V.     Relevance of Heat Treatment

       Valeo contends that heat treatment is relevant to the question whether T-series

sheet is manufactured from a 3XXX-series core because the T-series sheet core is

heat-treatable and 3XXX-series alloys are non-heat-treatable. Valeos Cmts. at 13.

       In Valeo I, the court found Commerces conclusion that heat-treatment does not

preclude characterization as a 3XXX-series alloy even if such alloys are otherwise

characterized as non-heat-treatable to be contradicted by evidence indicating that

3XXX-series alloys are not heat-treatable. 610 F. Supp. 3d at 1340. The court

therefore directed Commerce, as necessary on remand, to address evidence that

Valeos product undergoes heat-treatment and to reconcile that evidence with

Commerces conclusion that the core of Valeos T-series sheet constituted a 3XXX-

series alloy. Id. at 1341 (internal citations omitted). The court explained that it was

difficult to discern[] the path of Commerces reasoning when Commerce had failed to

define the phrases heat-treated or heat-treatable for purposes of understanding the

relevance of thermal treatment to classification as a 3XXX-series alloy. Id.




13
   Valeo once again argues that the Teal Sheets is the only lawful interpretive source
and confirm[s] that the scope is limited to registered alloys. Valeos Cmts. at 13. For
this reason, Valeo asserts that Commerce erred in considering the (k)(2) factors. Id.
Valeos argument, however, simply restates arguments the court has rejected for the
reasons already stated. Valeo raises no arguments concerning Commerces findings
with respect to the (k)(2) factors.



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      Upon review of the record on remand, Commerce found that the phrase heat-

treatment means solution heat-treatment and that the phrase heat-treatable alloy

refers to an alloy that can undergo solution heat-treatment. Scope Redetermination at

25; see also id. at 76. Commerce subsequently addressed whether Valeos product

undergoes solution heat-treatment and found that it does not. See id. at 2529, 3337,

76, 88. Instead, Commerce determined that Valeos T-series sheet undergoes a

combination of annealing and cold-working that did not preclude classification as a

3XXX-series alloy. Id. at 29.

      Valeo does not present a cogent challenge to these findings. While Valeo

asserts that the core layer used in the manufacture of T-Series is heat-treatable,

Valeos Cmts. at 13, Valeo does not address Commerces findings regarding the type of

heat-treatment relevant to characterization of 3XXX-series alloys as non-heat-treatable

or Commerces factual finding that Valeos product does not undergo solution heat-

treatment, see id. at 1316. 14 Commerces extensive analysis of heat-treatment and

the agencys findings with respect to Valeos T-series aluminum sheet are supported by

substantial evidence. See Scope Redetermination at 2137, 7595.




14 At most, Valeo appears to argue for a broader interpretation of the term heat-

treatable that would capture the type of thermal processing its product undergoes. See
Valeos Cmts. at 1314 (discussing sources generally characterizing 3XXX-series alloys
as non-heat-treatable). Valeos broad-based arguments do not, however, address, and,
thus, do not undermine, Commerces reasons for defining the term more narrowly for
present purposes, including scope language expressly indicating that annealing would
not remove a product from the scope of the China CAAS Orders. Scope
Redetermination at 7678.



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       VI.     Suspension of Liquidation

       Lastly, Valeo contends that Commerce must revoke the instructions the agency

sent to CBP following issuance of the Final Scope Ruling. Valeos Cmts. at 16.

Commerce consideredand rejectedthis argument. Scope Redetermination at 121

22. The Government and Defendant-Intervenors contend that Valeos arguments are

misplaced. Def.s Cmts. at 1718; Def.-Ints. Cmts. at 1213. The court agrees.

       Commerces regulatory provisions governing suspension of liquidation are

instructive here. Subsection (l) states:

       (1) When the [agency] conducts a scope inquiry under paragraph (b) or (e)
       of this section, and the product in question is already subject to
       suspension of liquidation, that suspension of liquidation will be continued,
       pending a preliminary or a final scope ruling, at the cash deposit rate that
       would apply if the product were ruled to be included within the scope of
       the order.

       ***

       (3) If the [agency] issues a final scope ruling, under either paragraph (d) or
       (f)(4) of this section, to the effect that the product in question is included
       within the scope of the order, any suspension of liquidation under
       paragraph (l)(1) or (l)(2) of this section will continue. Where there has
       been no suspension of liquidation, the [agency] will instruct [CBP] to
       suspend liquidation and to require a cash deposit of estimated duties, at
       the applicable rate, for each unliquidated entry of the product entered, or
       withdrawn from warehouse, for consumption on or after the date of
       initiation of the scope inquiry. If the [agencys] final scope ruling is to the
       effect that the product in question is not included within the scope of the
       order, the [agency] will order any suspension of liquidation on the subject
       product ended and will instruct [CBP] to refund any cash deposits or
       release any bonds relating to this product.

19 C.F.R. § 351.225(l)(1), (3) (emphases added).




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       Valeo does not argue that Commerce improperly instructed CBP to suspend

liquidation and collect cash deposits following Commerces affirmative Final Scope

Ruling. See Valeos Cmts. at 1618. Instead, Valeo asserts that the courts opinion in

Valeo I undermined the legal basis for the suspension of liquidation and collection of

cash deposits for any entries that were made prior to the date on which Commerce

initiated the formal scope inquiry on remand, i.e., February 15, 2023. Id. at 16 (citing,

inter alia, United Steel and Fasteners, Inc. v. United States, 947 F.3d 794, 801 (Fed.

Cir. 2020) (USF)).

       USF addressed the scenario in which Commerce retroactively suspended

liquidation back to the date on which Commerce issued the underlying order following

issuance of an affirmative scope ruling without a scope inquiry. 947 F.3d at 80001.

While recognizing that the regulation is silent when there has been no scope inquiry, id.

at 800, the court nevertheless held that Commerce exceeded its regulatory authority

under 19 C.F.R. § 351.225(l)(3) by retroactively suspending liquidation to the issuance

date of the [order], id. at 803. 15

       Here, however, when Commerce initiated the scope inquiry, Valeos product was

already subject to suspension of liquidation and, as such, that suspension of

liquidation [was] continued, pending a preliminary or a final scope ruling. 19 C.F.R.




15
    Following the U.S. Court of International Trades (CIT) earlier decision in the USF
litigation that Commerce had exceeded its regulatory authority, Commerce issued
revised instructions to suspend liquidation for entries made on or after the date on which
Commerce issued its final scope ruling. See USF, 725 F.3d at 798. The CIT entered
judgment, and no party challenged the revised instructions. See id.



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§ 351.225(l)(1). Subsection (l)(3) further provides for the continuation of any

suspension pursuant to subsection (l)(1) when Commerce issues an affirmative scope

ruling pursuant to subsection (f)(4) at the conclusion of a scope inquiry. Id.

§ 351.225(l)(3). Subsection (f)(4) directs Commerce to issue a final ruling concerning

the product which is the subject of the scope inquiry conducted pursuant to subsection

(e). Id. § 351.225(f)(4). While Commerce conducted the scope inquiry during a court-

ordered remand proceeding, that inquiry was nevertheless governed by Commerces

regulations. See, e.g., Scope Redetermination at 122 (citing 19 C.F.R. § 351.225(e)).

       Unlike in USF, at no point in this remand proceeding did Commerce instruct CBP

to suspend liquidation of, or collect cash deposits on, entries made prior to the date on

which Commerce determined that Valeos product fell within the scope. Valeo offers no

authority for the proposition that an order remanding Commerces original scope ruling 16

invalidates Commerces prior instructions such that subsection (l)(1) no longer applies.

See Valeos Cmts. at 17 (cursorily declaring continued suspension of liquidation after

Valeo I unlawful). Notably, subsection (l)(3) directs Commerce to end any suspension

of liquidation only after issuance of a negative scope ruling, 19 C.F.R. § 351.225(l)(3),



16
   It is well settled that an order remanding a matter to an administrative agency for
further findings and proceedings is not final. Cabot Corp. v. United States, 788 F.2d
1539, 1542 (Fed. Cir. 1986). The lack of finality associated with the courts remand
order offers further support for the continuation of any suspension of liquidation during
remand proceedings pending a final decision in the action. Further, as the Government
notes, requiring modification of customs instructions as a result of a remand order that
does not provide such direction would present multiple issues beyond the scope
proceeding presently before the [c]ourt, Def.s Cmts. at 18, including, for example, with
respect to the carefully crafted statutory scheme governing suspension and liquidation
in cases arising under section 1516a, see 19 U.S.C. § 1516a(c),(e).



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which has not happened here. Accordingly, the court declines to disturb Commerces

instructions.

                                     CONCLUSION

       In accordance with the foregoing, Commerces Final Scope Ruling, as modified

by the Scope Redetermination, will be sustained. Judgment will be entered accordingly.


                                              /s/   Mark A. Barnett
                                              Mark A. Barnett, Chief Judge

Dated: November 8, 2023
       New York, New York




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